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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                   TALLAHASSEE DIVISION



     USA

       VS                                    USDC NO. 4:18-cr-00076-RH-EMT-3
                                             USCA NO. _____________

JOHN THOMAS BURNETTE

                        TRANSMITTAL OF NOTICE OF APPEAL

       The following documents are hereby transmitted to the Clerk, U. S. Court of Appeals.
The Certified copy of the appeal notice, docket entries, judgment/opinion/order appealed from
are enclosed.

First Appeal Notice. NOVEMBER 12, 2021
Judge/Magistrate Judge appealed from: Robert L. Hinkle
Other: N/A

Please acknowledge receipt on the enclosed copy of this transmittal to: TALLAHASSEE DIVISION

                                                    JESSICA J. LYUBLANOVITS,
                                                    CLERK OF COURT

                                                    By: Ronnell Barker
                                                    Deputy Clerk
                                                    111 North Adams Street
November 15, 2021                                   Tallahassee, Florida 32301
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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

v.                                            4:18CR76-RH

JOHN THOMAS BURNETTE.
_________________________________/


                              NOTICE OF APPEAL

      Notice is given that Defendant John Thomas Burnette hereby appeals to the

United States Court of Appeals for the Eleventh Circuit from the final judgment of

the district court entered in this action on November 12, 2021 (“Judgment”) (ECF

No. 514); from any and all adverse rulings incorporated in, antecedent to, or ancillary

to the Judgment; and from any and all adverse interlocutory orders, judgments,

decrees, decisions, rulings, and opinions that merged into and became part of the

Judgment, that shaped the Judgment, that are related to the Judgment, or upon which

the Judgment is based.


 Dated: November 12, 2021                  Respectfully submitted,

                                           /s/ Gregory W. Kehoe
                                           Gregory W. Kehoe
                                           Florida Bar No. 0486140
                                           kehoeg@gtlaw.com
                                           Jordan L. Behlman
                                           Florida Bar No. 111359
                                           behlmanj@gtlaw.com
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

-vs-                                                 Case # 4:18cr76-03(SS)

JOHN THOMAS BURNETTE
                                                     USM # 26411-017

                                                     Defendant’s Attorney:
                                                     R. Timothy Jansen (Retained)
                                                     1206 North Duval Street
                                                     Tallahassee, FL 32303

                                                     Adam Komisar (Retained)
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                                                     Tallahassee, FL 32303

                                                     Gregory Kehoe (Retained)
                                                     Jordan Behlman
                                                     Kayli Smendec
                                                     101 E. Kennedy Blvd, Ste 1900
                                                     Tampa, FL 33602

                                                     Michael Robert Ufferman (Retained)
                                                     2022-1 Raymond Diehl Road
                                                     Tallahassee, FL 32308
___________________________________

                              JUDGMENT IN A CRIMINAL CASE

On August 13, 2021, the jury returned a verdict finding the defendant guilty on counts 2, 5, 6, 8,
and 9 of the second superseding indictment. Accordingly, IT IS ORDERED that the defendant
is adjudged guilty of such counts which involve the following offenses:



             TITLE/SECTION              NATURE OF             DATE OFFENSE            COUNT
                NUMBER                   OFFENSE               CONCLUDED



 18 U.S.C. § 1951                   Extortion Under Color       March 2017               2
                                    of Official Right,
                                    Aiding and Abetting
 18 U.S.C. §§ 1341, 1346, and 2     Honest Services Mail      January 23, 2017           5
                                    Fraud, Aiding and
                                    Abetting




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 18 U.S.C. §§ 1341, 1346, and 2      Honest Services Mail      February 22, 2017            6
                                     Fraud, Aiding and
                                     Abetting
 18 U.S.C. §§ 1952(a)(3) and 2       Using a Facility of       October 24, 2016             8
                                     Interstate Commerce
                                     to Facilitate Unlawful
                                     Activity (Travel Act),
                                     Aiding and Abetting
 18 U.S.C. § 1001(a)(2)              Making False                May 24, 2017               9
                                     Statements

The jury returned a verdict finding the defendant not guilty on counts 1, 3, 4, and 7 of the
second superseding indictment. The defendant is adjudged not guilty on those counts.

The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall notify the United States attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic
circumstances.



                                       Date of Imposition of Sentence:
                                       November 9, 2021


                                       s/Robert L. Hinkle
                                       November 11, 2021




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                                       IMPRISONMENT

       The defendant is hereby committed to the custody of the United States
Bureau of Prisons to be imprisoned for 36 months on counts 2, 5, 6, 7, 8, and 9,
all to run concurrently.

          The Court recommends to the Bureau of Prisons:

                    The defendant should be designated to a facility as
                    near as possible to Tallahassee, Florida.

      The defendant shall surrender for service of sentence at the institution
designated by the Bureau of Prisons by 2:00 p.m. on January 9, 2022.

                                           RETURN

I have executed this judgment as follows:
____________________________________________________________________________

____________________________________________________________________________


Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this

judgment.

                                      __________________________________
                                      UNITED STATES MARSHAL


                                      By:__________________________________
                                            Deputy United States Marshal




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                                   SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a
term of 1 year on all counts to run concurrently.

                                  MANDATORY CONDITIONS

          1. You must not commit another federal, state, or local crime.
          2. You must not unlawfully possess a controlled substance.
          3. You must refrain from any unlawful use of a controlled substance. You must submit
             to one drug test within 15 days of release from imprisonment and at least two
             periodic drug tests thereafter, as determined by the court.
          4. You must cooperate in the collection of DNA as directed by the probation officer.

        You must comply with the standard conditions that have been adopted by this court as
well as with any other conditions on the attached page.




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                            STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for
your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.       You must report to the probation office in the federal judicial district where you are
authorized to reside within 72 hours of your release from imprisonment, unless the probation
officer instructs you to report to a different probation office or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court
or the probation officer about how and when you must report to the probation officer, and you
must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to
reside without first getting permission from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where
you live or anything about your living arrangements (such as the people you live with), you must
notify the probation officer at least 10 days before the change. If notifying the probation officer in
advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere,
and you must permit the probation officer to take any items prohibited by the conditions of your
supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment,
unless the probation officer excuses you from doing so. If you do not have full-time employment
you must try to find full-time employment, unless the probation officer excuses you from doing
so. If you plan to change where you work or anything about your work (such as your position or
your job responsibilities), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal
activity. If you know someone has been convicted of a felony, you must not knowingly
communicate or interact with that person without first getting the permission of the probation
officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the
probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive
device, or dangerous weapon (i.e., anything that was designed, or was modified for, the specific
purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a
confidential human source or informant without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an
organization), the probation officer may require you to notify the person about the risk and you
must comply with that instruction. The probation officer may contact the person and confirm
that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of
supervision.



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                        SPECIAL CONDITIONS OF SUPERVISED RELEASE


       The defendant shall also comply with the following additional conditions of supervised
release:

                      1. The defendant must submit to testing to determine whether he
               is using drugs or alcohol.

                      2. The defendant must not transfer or dispose of any asset, or his
               interest in any asset, without prior approval by the probation officer.




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Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.


__________________________________                                 ______________
Defendant                                                          Date




___________________________________                                ______________
U.S. Probation Officer/Designated Witness                          Date




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                             CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

              ASSESSMENT                   JVTA*                    FINE             RESTITUTION
                                        ASSESSMENT
                   $500.00                  -0-                1,250,000.00             20,000.00
                                                                                       lump sum

The defendant must make restitution (including community restitution to the following payees in
the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.




      Name of Payee             Total Loss**            Amount of                   Priority of
                                                    Restitution Ordered             Percentage
 Federal Bureau of              $20,000.00              $20,000.00                      -0-
 Investigation relating
 to Southern Pines
 c/o Financial Section
 U.S. Clerk
 111 N. Adams Street
 Tallahassee, Florida
 32301


The defendant must pay interest on restitution and a fine of more than $2,500, unless the
restitution or fine is paid in full before the fifteenth day after the date of the judgment, pursuant
to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
delinquency and default, pursuant to 18 U.S.C. § 3612(g).




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                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
is due as follows: immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

Joint and Several with co-defendants Scott Charles Maddox (4:18cr76-01) and Janice Paige
Carter-Smith (4:18cr76-02)




Case No. 4:18cr76-03 (SS)
   Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 12 of 50




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                                    2
     Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 13 of 50




 Telephone: (850) 368-2345
 Facsimile: (850) 224-2340

 Counsel for Defendant



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 12, 2021, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.

                                                /s/ Gregory W. Kehoe
                                                  Attorney




                                            3
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                                                                                     APPEAL
                             U.S. District Court
                  Northern District of Florida (Tallahassee)
          CRIMINAL DOCKET FOR CASE #: 4:18−cr−00076−RH−EMT−3

Case title: USA v. MADDOX et al                         Date Filed: 12/11/2018

Assigned to: JUDGE ROBERT
L HINKLE
Referred to: MAGISTRATE
JUDGE ELIZABETH M
TIMOTHY

Defendant (3)
JOHN THOMAS                       represented by R TIMOTHY JANSEN
BURNETTE                                         JANSEN LAW FIRM − TALLAHASSEE FL
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   Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 15 of 50

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Pending Counts                        Disposition
INTERFERENCE WITH                     36 months custody BOP on Counts 2, 5, 6, 8 and 9, to
COMMERCE BY THREAT                    run concurrently. 1 year Supervised Release. $500
OR VIOLENCE                           SMA $1,250,000 Fine. Restitution in the amount of
(2s)                                  $20,000 jointly and severally with co−defendants.
                                      36 months custody BOP on Counts 2, 5, 6, 8 and 9, to
FRAUDS AND SWINDLES                   run concurrently. 1 year Supervised Release. $500
(5s)                                  SMA $1,250,000 Fine. Restitution in the amount of
                                      $20,000 jointly and severally with co−defendants.
                                      36 months custody BOP on Counts 2, 5, 6, 8 and 9, to
FRAUDS AND SWINDLES                   run concurrently. 1 year Supervised Release. $500
(6s)                                  SMA $1,250,000 Fine. Restitution in the amount of
                                      $20,000 jointly and severally with co−defendants.
                                      36 months custody BOP on Counts 2, 5, 6, 8 and 9, to
RACKETEERING −                        run concurrently. 1 year Supervised Release. $500
EXTORTION                             SMA $1,250,000 Fine. Restitution in the amount of
(8s)                                  $20,000 jointly and severally with co−defendants.
                                      36 months custody BOP on Counts 2, 5, 6, 8 and 9, to
STATEMENTS OR ENTRIES                 run concurrently. 1 year Supervised Release. $500
GENERALLY                             SMA $1,250,000 Fine. Restitution in the amount of
(9s)                                  $20,000 jointly and severally with co−defendants.

Highest Offense Level
(Opening)
Felony

Terminated Counts                     Disposition
RACKETEERING
(1)
   Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 16 of 50

RACKETEERING
(1s)
FRAUDS AND SWINDLES
(3s−4s)
RACKETEERING −
EXTORTION
(7s)
INTERFERENCE WITH
COMMERCE BY THREAT
OR VIOLENCE
(14)
FRAUDS AND SWINDLES
(23−26)
RACKETEERING −
EXTORTION
(36−37)
STATEMENTS OR ENTRIES
GENERALLY
(40)
CRIMINAL FORFEITURES
(48)

Highest Offense Level
(Terminated)
Felony

Complaints                            Disposition
None


Plaintiff
USA                                 represented by STEPHEN M KUNZ
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  Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 17 of 50

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                                                       Designation: Retained

Date Filed   #   Docket Text
05/09/2019   51 NOTICE of Lis Pendens by USA as to SCOTT CHARLES MADDOX, JANICE
                PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE (KUNZ, STEPHEN)
                (Entered: 05/09/2019)
05/09/2019   52 NOTICE of Lis Pendens by USA as to SCOTT CHARLES MADDOX, JANICE
                PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE (KUNZ, STEPHEN)
                (Entered: 05/09/2019)
05/09/2019   53 NOTICE of Lis Pendens by USA as to SCOTT CHARLES MADDOX, JANICE
                PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE (KUNZ, STEPHEN)
                (Entered: 05/09/2019)
05/09/2019   54 SUPERSEDING INDICTMENT (PDF redacted per privacy policy) as to SCOTT
                CHARLES MADDOX (1) count(s) 1s, 2s−3s, 4s−7s, 8s−14s, 15s−22s, 23s−26s,
                27s−35s, 38s, 41s, 42s−46s, and 48s; as to JANICE PAIGE CARTER−SMITH (2)
  Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 18 of 50

                 count(s) 1s, 2s−3s, 8s−12s, 14s, 15s−22s, 23s−26s, 27s−35s, 39s, 41s, 47s, and 48s; as
                 to JOHN THOMAS BURNETTE (3) count(s) 1, 14, 23−26, 36−37, 40, and 48. (ckm)
                 (Entered: 05/09/2019)
05/09/2019   55 Sealed Document (Unredacted Superseding Indictment) (ckm) (Entered: 05/09/2019)
05/09/2019   58 CRIMINAL COVER SHEET by USA as to JOHN THOMAS BURNETTE (copy to
                US Marshal)(PDF sealed per Privacy Policy) (ckm) (Entered: 05/09/2019)
05/09/2019   59 ORDER FOR ISSUANCE OF ARREST WARRANT as to JOHN THOMAS
                BURNETTE. Signed by MAGISTRATE JUDGE CHARLES A STAMPELOS on
                5/9/2019. (ckm) (Entered: 05/09/2019)
05/09/2019   60 MOTION Requesting an Order Sealing the Superseding Indictment by USA as to
                SCOTT CHARLES MADDOX, JANICE PAIGE CARTER−SMITH, JOHN
                THOMAS BURNETTE. (ckm) (Entered: 05/09/2019)
05/09/2019   61 ORDER granting 60 Motion to Seal as to SCOTT CHARLES MADDOX (1), JANICE
                PAIGE CARTER−SMITH (2), JOHN THOMAS BURNETTE (3). Signed by
                MAGISTRATE JUDGE CHARLES A STAMPELOS on 5/9/2019. (ckm) (Entered:
                05/09/2019)
05/09/2019   62 MOTION to Unseal Superseding Indictment by USA as to SCOTT CHARLES
                MADDOX, JANICE PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE.
                (ckm) (Entered: 05/09/2019)
05/09/2019   63 ORDER granting 62 Motion to Unseal Document as to SCOTT CHARLES
                MADDOX (1), JANICE PAIGE CARTER−SMITH (2), JOHN THOMAS
                BURNETTE (3). Signed by MAGISTRATE JUDGE CHARLES A STAMPELOS on
                5/9/2019. (ckm) (Entered: 05/09/2019)
05/09/2019   64 NOTICE of Lis Pendens by USA as to SCOTT CHARLES MADDOX, JANICE
                PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE (KUNZ, STEPHEN)
                (Entered: 05/09/2019)
05/09/2019       Attorney update in case as to SCOTT CHARLES MADDOX, JANICE PAIGE
                 CARTER−SMITH, JOHN THOMAS BURNETTE. Attorneys GARY KENNETH
                 MILLIGAN, II, ANDREW JABUS GROGAN for USA added. (ckm) (Entered:
                 05/09/2019)
05/09/2019   67 Minute Entry for proceedings held before MAGISTRATE JUDGE CHARLES A
                STAMPELOS: Initial Appearance as to JOHN THOMAS BURNETTE held on
                5/9/2019, Added attorney R TIMOTHY JANSEN for defendant. (Court Reporter DCR
                TLH.) (amm) (Entered: 05/10/2019)
05/09/2019   68 ORDER SETTING CONDITIONS OF RELEASE as to JOHN THOMAS
                BURNETTE. Signed by MAGISTRATE JUDGE CHARLES A STAMPELOS on
                5/9/19. (amm) (Entered: 05/10/2019)
05/09/2019   69 Minute Entry for proceedings held before MAGISTRATE JUDGE CHARLES A
                STAMPELOS:Arraignment as to JOHN THOMAS BURNETTE (3) Count
                1,14,23−26,36−37,40,48 held on 5/9/2019 (Court Reporter DCR TLH.) (amm)
                (Entered: 05/10/2019)
05/09/2019   70 ORDER SETTING TRIAL AND OTHER PRE−TRIAL MATTERS as to JOHN
                THOMAS BURNETTE: Jury Trial set for 6/17/2019 8:15 AM in U.S. Courthouse
                Tallahassee before JUDGE ROBERT L HINKLE. Signed by MAGISTRATE JUDGE
                CHARLES A STAMPELOS on 5/9/19. (amm) (Entered: 05/10/2019)
05/10/2019   66 NOTICE OF ATTORNEY APPEARANCE: GREGORY WILLIAM KEHOE
                appearing for JOHN THOMAS BURNETTE (KEHOE, GREGORY) (Entered:
                05/10/2019)
05/13/2019   72 NOTICE OF ATTORNEY APPEARANCE ROSALEEN TOBIN O'GARA appearing
                for USA. (O'GARA, ROSALEEN) (Entered: 05/13/2019)
05/13/2019   73 Arrest Warrant Returned Executed on 5/9/19 in case as to JOHN THOMAS
                BURNETTE. (amm) (Entered: 05/13/2019)
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05/14/2019   75 MOTION to Compel Discovery by JOHN THOMAS BURNETTE. (JANSEN, R)
                (Entered: 05/14/2019)
05/14/2019   76 MOTION to Apply Previously Entered Protective Order to Defendant Burnette and
                Counsel by USA as to SCOTT CHARLES MADDOX, JANICE PAIGE
                CARTER−SMITH, JOHN THOMAS BURNETTE. (Attachments: # 1 Text of
                Proposed Order) (GROGAN, ANDREW) Modified on 5/15/2019 to reflect document
                title (ckm). (Entered: 05/14/2019)
05/14/2019       Set Deadlines as to JOHN THOMAS BURNETTE (Internal deadline for referral to
                 judge if Government's response to 75 Motion to Compel and Burnette's response to 76
                 Motion not filed earlier: 5/28/2019.) (ckm) (Entered: 05/15/2019)
05/15/2019   77 ORDER FOR A STATUS CONFERENCE as to SCOTT CHARLES MADDOX,
                JANICE PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE (re 75 Motion to
                Compel and 76 Motion to Apply Previously Entered Protective Order) − The clerk
                must set a status conference by telephone for the earliest available date. Signed by
                JUDGE ROBERT L HINKLE on 5/15/2019. (ckm) (Entered: 05/15/2019)
05/15/2019   78 NOTICE OF TELEPHONIC HEARING as to SCOTT CHARLES MADDOX,
                JANICE PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE (pursuant to 77
                Order): Telephonic Status Conference set for 5/21/2019 03:00 PM before JUDGE
                ROBERT L HINKLE.

                 Call in number: 888−684−8852
                 Access code: 3243416#
                 Security code: 0521#

                 s/ Cindy Markley
                 Courtroom Deputy Clerk (ckm) (Entered: 05/15/2019)
05/17/2019   80 MOTION for Joint Trial of All Defendants (on November 4, 2019) by USA as to
                SCOTT CHARLES MADDOX, JANICE PAIGE CARTER−SMITH, JOHN
                THOMAS BURNETTE. (GROGAN, ANDREW) (Entered: 05/17/2019)
05/17/2019       Set Response Deadline re 80 Motion for Joint Trial of All Defendants as to SCOTT
                 CHARLES MADDOX, JANICE PAIGE CARTER−SMITH, JOHN THOMAS
                 BURNETTE. (Internal deadline for referral to judge if response not filed earlier:
                 5/31/2019.) (ckm) (Entered: 05/20/2019)
05/20/2019   84 NOTICE OF ATTORNEY APPEARANCE NANCY J HESS appearing for USA.
                (HESS, NANCY) (Entered: 05/20/2019)
05/21/2019   86 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                Status Conference as to SCOTT CHARLES MADDOX, JANICE PAIGE
                CARTER−SMITH, JOHN THOMAS BURNETTE held on 5/21/2019. The Court
                hears argument of counsel regarding pending motions. An order is forthcoming. (Court
                Reporter Megan Hague) (ckm) (Entered: 05/21/2019)
05/21/2019   87 PROTECTIVE ORDER granting 76 Motion for Protective Order as to SCOTT
                CHARLES MADDOX (1), JANICE PAIGE CARTER−SMITH (2), JOHN THOMAS
                BURNETTE (3). Signed by JUDGE ROBERT L HINKLE on 5/21/19. (sms) (Entered:
                05/21/2019)
05/21/2019   88 ORDER CONFIRMING THE TRIAL DATE AND SETTING OTHER
                PROCEDURES as to SCOTT CHARLES MADDOX, JANICE PAIGE
                CARTER−SMITH, JOHN THOMAS BURNETTE − The trial is set for November 4,
                2019, for all charges against all defendants. The government's motion for a joint trial,
                ECF No. 80 , is granted. But Mr. Burnette may file by June 20, 2019 a motion to sever.
                The motion will be considered de novo. The deadline for other motions is June 20,
                2019. By separate notice, the clerk must set a hearing on Ms. Carter−Smith's
                representation for the first available date on or after May 28, 2019. (Motions due by
                6/20/2019. Jury Trial set for 11/4/2019 08:15 AM in U.S. Courthouse Tallahassee
                before JUDGE ROBERT L HINKLE.) Signed by JUDGE ROBERT L HINKLE on
                5/21/2019. (ckm) (Entered: 05/22/2019)
05/22/2019   89 NOTICE OF HEARING as to JANICE PAIGE CARTER−SMITH: Hearing on
                Carter−Smith's representation set for 5/29/2019 09:00 AM before JUDGE ROBERT L
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                   HINKLE, United States Courthouse, Courtroom 5 East, 111 North Adams St.,
                   Tallahassee, Florida 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3501 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) Modified on 5/22/2019 to correct defendant (ckm).
                   (Entered: 05/22/2019)
05/22/2019    90 ORDER UNSEALING THE MOTION FOR LEAVE TO WITHDRAW as to JANICE
                 PAIGE CARTER−SMITH − The clerk must unseal ECF No. 85 . Signed by JUDGE
                 ROBERT L HINKLE on 5/22/2019. (ckm) (Entered: 05/22/2019)
05/22/2019    91 ORDER DENYING THE MOTION TO COMPEL DISCOVERY as to JOHN
                 THOMAS BURNETTE (3) − The defendant, John Thomas Burnette's motion to
                 compel discovery, ECF No. 75 , is denied without prejudice. Signed by JUDGE
                 ROBERT L HINKLE on 5/22/2019. (ckm) (Entered: 05/22/2019)
05/28/2019    92 Unopposed MOTION to Allow Travel by JOHN THOMAS BURNETTE. (JANSEN,
                 R) Modified on 5/28/2019 to reflect unopposed (ckm). (Entered: 05/28/2019)
05/29/2019    94 ORDER ALLOWING TRAVEL AND REQUIRING COMPLIANCE WITH
                 CONDITIONS AND INSTRUCTIONS (granting 92 Unopposed Motion to Allow
                 Travel) as to JOHN THOMAS BURNETTE (3). Signed by JUDGE ROBERT L
                 HINKLE on 5/29/2019. (ckm) (Entered: 05/29/2019)
06/18/2019   100 Unopposed MOTION to Extend Pre−Trial Motion Deadline by JOHN THOMAS
                 BURNETTE. (Attachments: # 1 Text of Proposed Order) (JANSEN, R) Modified on
                 6/18/2019 to reflect title (ckm). (Entered: 06/18/2019)
06/18/2019   101 Unopposed MOTION to Extend Pre−Trial Motion Deadline by JOHN THOMAS
                 BURNETTE. (Attachments: # 1 Text of Proposed Order) (JANSEN, R) Modified on
                 6/18/2019 to reflect title (ckm). This document appears to be a duplicate of 100 except
                 this version is dated. (Entered: 06/18/2019)
06/20/2019   104 ORDER EXTENDING THE MOTIONS DEADLINE as to JOHN THOMAS
                 BURNETTE − The defendant's unopposed motion, ECF Nos. 100 and 101 , to extend
                 the motions deadline is granted. The deadline is extended to 7/8/2019. Signed by
                 JUDGE ROBERT L HINKLE on 6/20/2019. (ckm) (Entered: 06/20/2019)
06/20/2019   105 ORDER DENYING THE 97 MOTION TO DISMISS COUNT 39 as to SCOTT
                 CHARLES MADDOX, JANICE PAIGE CARTER−SMITH, JOHN THOMAS
                 BURNETTE. Signed by JUDGE ROBERT L HINKLE on 6/20/2019. (ckm) (Entered:
                 06/21/2019)
07/08/2019   111 ***Withdrawn pursuant to 122 Order*** MOTION for Bill of Particulars by JOHN
                 THOMAS BURNETTE as to SCOTT CHARLES MADDOX, JANICE PAIGE
                 CARTER−SMITH, JOHN THOMAS BURNETTE. (KEHOE, GREGORY) Modified
                 on 7/23/2019 (ckm). (Entered: 07/08/2019)
07/08/2019   112 MOTION to Sever Defendant and Incorporated Memorandum of Law by JOHN
                 THOMAS BURNETTE. (KEHOE, GREGORY) (Entered: 07/08/2019)
07/08/2019   113 MOTION to Dismiss by JOHN THOMAS BURNETTE. (KEHOE, GREGORY)
                 (Entered: 07/08/2019)
07/08/2019         Set Deadlines in case as to JOHN THOMAS BURNETTE re 111 Motion for Bill of
                   Particulars, 112 Motion to Sever, and 113 Motion to Dismiss. (Internal deadline for
                   referral to judge if Government responses not filed earlier: 7/22/2019.) (ckm) (Entered:
                   07/09/2019)
07/09/2019   114 Sealed Document (ckm) (Entered: 07/10/2019)
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07/09/2019   115 Sealed Document (ckm) (Entered: 07/10/2019)
07/10/2019   116 MOTION to Withdraw Document 111 MOTION for Bill of Particulars as Moot by
                 JOHN THOMAS BURNETTE. (KEHOE, GREGORY) (Entered: 07/10/2019)
07/11/2019   117 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of telephonic Proceedings as to
                 SCOTT CHARLES MADDOX, JANICE PAIGE CARTER−SMITH, JOHN
                 THOMAS BURNETTE held on 5/21/2019, before Judge Robert L. Hinkle. Court
                 Reporter/Transcriber Megan A. Hague, Telephone number 850−422−0011.

                           Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber before the deadline for
                           Release of Transcript Restriction. After that date it may be obtained
                           through PACER.

                   Redaction Request due 7/18/2019. Release of Transcript Restriction set for
                   10/16/2019. (mah) (Entered: 07/11/2019)
07/16/2019   118 Supplement to 112 Motion for Severance and Incorporated Memorandum of Law by
                 JOHN THOMAS BURNETTE as to SCOTT CHARLES MADDOX, JANICE PAIGE
                 CARTER−SMITH, JOHN THOMAS BURNETTE (KEHOE, GREGORY) Modified
                 on 7/17/2019 to reflect document title (ckm). (Entered: 07/16/2019)
07/16/2019   119 Sealed Document (ckm) (Entered: 07/17/2019)
07/22/2019   120 (Unopposed) MOTION for Leave to File Consolidated Brief Addressing Pending
                 Motions and to Exceed 8,000 Word Limit by USA as to SCOTT CHARLES
                 MADDOX, JANICE PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE.
                 (Attachments: # 1 Exhibit A − Proposed Document) (NOTHSTEIN, PETER)
                 Modified on 7/22/2019 to reflect unopposed (ckm). (Entered: 07/22/2019)
07/23/2019   121 (Unopposed) Amended MOTION for Leave to File Consolidated Brief Addressing
                 Pending Motions and to Exceed 8,000 Word Limit by USA as to JOHN THOMAS
                 BURNETTE. (Attachments: # 1 Exhibit Opposition to Motion to Dismiss and for
                 Severance) (NOTHSTEIN, PETER) Modified on 7/25/2019 to reflect unopposed; this
                 document is a signed version of document 120 (ckm). (Entered: 07/23/2019)
07/23/2019   122 ORDER DENYING AS MOOT THE MOTION FOR A BILL OF PARTICULARS as
                 to JOHN THOMAS BURNETTE − The defendant John Thomas Burnett's motion,
                 ECF No. 116 , to withdraw his motion for bill of particulars, ECF No. 111 , is granted.
                 The motion for bill of particulars is deemed withdrawn. Signed by JUDGE ROBERT
                 L HINKLE on 7/23/2019. (ckm) (Entered: 07/23/2019)
07/23/2019   123 ORDER GRANTING LEAVE TO EXCEED THE WORD LIMIT as to SCOTT
                 CHARLES MADDOX (1), JANICE PAIGE CARTER−SMITH (2), JOHN THOMAS
                 BURNETTE (3) − The government's unopposed motion, ECF Nos. 120 and 121 , to
                 file a consolidated response to pending motions and to exceed the word limit, ECF No.
                 120 , is granted. The government's consolidated response, ECF No. 121 −1, is deemed
                 properly filed. Signed by JUDGE ROBERT L HINKLE on 7/23/2019. (ckm) (Entered:
                 07/23/2019)
07/26/2019   124 MOTION to Continue Trial and Deadlines for Witnesses and Exhibit Lists by JOHN
                 THOMAS BURNETTE as to SCOTT CHARLES MADDOX, JANICE PAIGE
                 CARTER−SMITH, JOHN THOMAS BURNETTE. (Attachments: # 1 Exhibit A −
                 Excerpt from March 29 hearing transcript, # 2 Exhibit B − S Cataldo July 24 email, #
                 3 Exhibit C − Excerpt from May 21 hearing transcript, # 4 Exhibit D − June 28 email
                 exchange) (KEHOE, GREGORY) (Entered: 07/26/2019)
07/26/2019         Set Deadline as to JOHN THOMAS BURNETTE re 124 Motion to Continue Trial and
                   Deadlines for Witnesses and Exhibit Lists. (Internal deadline for referral to judge if
                   response not filed earlier: 8/9/2019.) (ckm) (Entered: 07/29/2019)
07/29/2019   125 NOTICE OF ATTORNEY APPEARANCE: MICHAEL HOWARD MOODY
                 appearing for JOHN THOMAS BURNETTE (MOODY, MICHAEL) (Entered:
                 07/29/2019)
07/29/2019   126 Interim MOTION to Extend Time Deadlines for Exchange of Witness and Exhibit
                 Lists by JOHN THOMAS BURNETTE as to SCOTT CHARLES MADDOX, JANICE
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                  PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE. (KEHOE, GREGORY)
                  (Entered: 07/29/2019)
07/29/2019        Set Deadline re 126 Interim Motion in case as to JOHN THOMAS BURNETTE
                  (Internal deadline for referral to judge if response not filed earlier: 8/12/2019). (ckm)
                  (Entered: 07/30/2019)
07/31/2019   128 NOTICE OF HEARING as to JOHN THOMAS BURNETTE: Status Conference set
                 for 8/6/2019 01:00 PM before JUDGE ROBERT L HINKLE, United States
                 Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida 32301.

                  NOTE: If you or any party, witness or attorney in this matter has a disability that
                  requires special accommodation, such as a hearing impairment that requires a sign
                  language interpreter or a wheelchair restriction that requires ramp access, please
                  contact Cindy Markley at 850−521−3501 in the Clerk's Office at least one week prior
                  to the hearing (or as soon as possible) so arrangements can be made.

                  s/ Cindy Markley
                  Courtroom Deputy Clerk (ckm) (Entered: 07/31/2019)
08/02/2019   129 RESPONSE in Opposition by USA as to JOHN THOMAS BURNETTE re 124
                 MOTION to Continue Trial and Deadlines for Witnesses and Exhibit Lists (O'GARA,
                 ROSALEEN) (Entered: 08/02/2019)
08/02/2019   130 Sealed Document (Attachments: # 1 Exhibit B, # 2 Cover Letter) (ckm) (Entered:
                 08/05/2019)
08/06/2019   141 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Status
                 Conference as to JOHN THOMAS BURNETTE held on 8/6/2019. Ruling by Court:
                 Motion to Dismiss is denied. Motion to Sever is denied as moot. Court hears argument
                 of counsel on Motion to Continue Trial. Ruling by Court: Defendant's Amended
                 Witness List due by August 8, 2019. Government to provide documents to Defendant
                 by August 22, 2019. Trial remains set for November 4, 2019. An order will follow.
                 (Court Reporter Judy Gagnon) (ckm) (Entered: 08/06/2019)
08/06/2019   142 ORDER ALLOWING THE DEFENDANT TO AMEND HIS WITNESS AND
                 EXHIBIT LISTS, REQUIRING THE GOVERNMENT TO REFORMAT ITS
                 DISCOVERY, AND DENYING THE MOTIONS TO DISMISS, SEVER, AND
                 CONTINUE as to JOHN THOMAS BURNETTE (3) − The defendant John Thomas
                 Burnette's motion to sever, ECF No. 112 , is denied as moot. Mr. Burnette's motion to
                 dismiss, ECF No. 113 , is denied. Mr. Burnette's motion to continue the trial, ECF No.
                 124 , is denied. Mr. Burnette's motions, ECF Nos. 124 and 126 , to extend the deadline
                 to serve his witness and exhibit lists are granted in part. Signed by JUDGE ROBERT
                 L HINKLE on 8/6/2019. (ckm) (Entered: 08/06/2019)
09/09/2019   144 MOTION to Withdraw Co−Counsel (Michael H. Moody) by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) Modified on 9/10/2019 − motion terminated as
                 instructed by Chambers (ckm). (Entered: 09/09/2019)
09/09/2019        Attorney update in case as to JOHN THOMAS BURNETTE. Attorney MICHAEL
                  HOWARD MOODY terminated pursuant to 144 Motion to Withdraw. (ckm) (Entered:
                  09/10/2019)
10/02/2019   145 SECOND SUPERSEDING INDICTMENT (PDF redacted per privacy policy) as to
                 JOHN THOMAS BURNETTE (3) count(s) 1s, 2s, 3s−6s, 7s−8s, 9s. (ckm) (Entered:
                 10/03/2019)
10/02/2019   146 Sealed Document (Unredacted Second Superseding Indictment) (ckm) (Entered:
                 10/03/2019)
10/02/2019   147 CRIMINAL COVER SHEET by USA as to JOHN THOMAS BURNETTE (copy to
                 US Marshal) (PDF sealed per Privacy Policy) (ckm) (Entered: 10/03/2019)
10/02/2019   148 MOTION Requesting an Order Sealing the 145 Second Superseding Indictment by
                 USA as to JOHN THOMAS BURNETTE. (ckm) (Entered: 10/03/2019)
10/02/2019   149 ORDER granting 148 Motion to Seal as to JOHN THOMAS BURNETTE (3). Signed
                 by MAGISTRATE JUDGE CHARLES A STAMPELOS on 10/2/2019. (ckm)
  Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 23 of 50

                  (Entered: 10/03/2019)
10/02/2019   150 MOTION to Unseal 145 Second Superseding Indictment by USA as to JOHN
                 THOMAS BURNETTE. (ckm) (Entered: 10/03/2019)
10/02/2019   151 ORDER granting 150 Motion to Unseal as to JOHN THOMAS BURNETTE (3).
                 Signed by MAGISTRATE JUDGE CHARLES A STAMPELOS on 10/2/2019. (ckm)
                 (Entered: 10/03/2019)
10/02/2019   152 Request for Summons. (ckm) Summons not issued. Defendant filed waiver of
                 appearance at arraignment. Modified on 10/3/2019 (amm). (Entered: 10/03/2019)
10/03/2019   153 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                 JOHN THOMAS BURNETTE re: Second Superseding Indictment 145 . (amm)
                 (Entered: 10/03/2019)
10/03/2019   154 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 10/11/2019 10:00 AM before JUDGE ROBERT
                 L HINKLE.

                  Call in number: 888−684−8852
                  Access code: 3243416#
                  Security code: 1011#

                  s/ Cindy Markley
                  Courtroom Deputy Clerk (ckm) (Entered: 10/03/2019)
10/04/2019   155 Second MOTION to Continue Trial by JOHN THOMAS BURNETTE. (Attachments:
                 # 1 Exhibit Composite Exhibit A − emails) (KEHOE, GREGORY) (Entered:
                 10/04/2019)
10/04/2019   156 Adam Corey's MOTION to Quash Trial Subpoena as to JOHN THOMAS
                 BURNETTE filed by Christopher M. Kise. (ckm) (Entered: 10/07/2019)
10/08/2019   157 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE
                 (change in time only): Telephonic Status Conference set for 10/11/2019 09:30 AM
                 before JUDGE ROBERT L HINKLE.

                  Call in number: 888−684−8852
                  Access code: 3243416#
                  Security code: 1011#

                  s/ Cindy Markley
                  Courtroom Deputy Clerk (ckm) (Entered: 10/08/2019)
10/08/2019   158 Supplement to Second MOTION to Continue Trial by JOHN THOMAS BURNETTE.
                 (KEHOE, GREGORY) Modified on 10/9/2019 to correct document title (ckm).
                 (Entered: 10/08/2019)
10/08/2019   159 NOTICE OF ATTORNEY APPEARANCE: R TIMOTHY JANSEN appearing for
                 JOHN THOMAS BURNETTE Adam Komisar as co−counsel (JANSEN, R) (Entered:
                 10/08/2019)
10/08/2019        Attorney update in case as to JOHN THOMAS BURNETTE. Attorney ADAM
                  JARED KOMISAR for JOHN THOMAS BURNETTE added as co−counsel. (ckm)
                  (Entered: 10/09/2019)
10/09/2019   160 NOTICE OF ATTORNEY APPEARANCE: MICHAEL ROBERT UFFERMAN
                 appearing for JOHN THOMAS BURNETTE (UFFERMAN, MICHAEL) (Entered:
                 10/09/2019)
10/09/2019   161 Unopposed MOTION for Leave to File Under Seal by JOHN THOMAS BURNETTE.
                 (UFFERMAN, MICHAEL) Modified on 10/9/2019 to reflect unopposed (ckm).
                 (Entered: 10/09/2019)
10/09/2019        Attorney update in case as to JOHN THOMAS BURNETTE. Attorney MICHAEL
                  ROBERT UFFERMAN for JOHN THOMAS BURNETTE added as co−counsel.
                  (ckm) (Entered: 10/09/2019)
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10/10/2019   163 NOTICE OF TELEPHONIC HEARING in case as to JOHN THOMAS BURNETTE
                 re 156 Adam Corey's Motion to Quash Trial Subpoena: Telephonic Motion Hearing
                 set for 10/11/2019 09:30 AM before JUDGE ROBERT L HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1011#

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 10/10/2019)
10/10/2019   164 ORDER NOTING RECENT AUTHORITY. Signed by JUDGE ROBERT L HINKLE
                 on 10/10/2019. (MKB) (Entered: 10/10/2019)
10/10/2019   166 RESPONSE to John Thomas Burnette's 158 Supplemental MOTION to Continue
                 Trial, 155 Second MOTION to Continue Trial by USA (GROGAN, ANDREW)
                 (Entered: 10/10/2019)
10/10/2019   167 RESPONSE in Opposition by JOHN THOMAS BURNETTE re 156 MOTION to
                 Quash (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B) (JANSEN, R)
                 (Entered: 10/10/2019)
10/11/2019   168 REPLY In Support of Adam Corey's 156 Motion to Quash (re 167 Response) as to
                 JOHN THOMAS BURNETTE filed by Christopher Kise. (ckm) (Entered: 10/11/2019)
10/11/2019   169 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Status Conference and Motion Hearing as to SCOTT CHARLES MADDOX, JANICE
                 PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE held on 10/11/2019.
                 Ruling by Court: Motion to Quash is granted. Motions to Continue Sentencings are
                 granted. Motion to Continue Trial is granted. Trial rescheduled for January 21, 2020.
                 Motion to File Motion to Dismiss Under Seal is granted. An order is forthcoming.
                 (Jury Trial reset for 1/21/2020 08:15 AM in U.S. Courthouse Tallahassee before
                 JUDGE ROBERT L HINKLE.) (Court Reporter Judy Gagnon) (ckm) (Entered:
                 10/11/2019)
10/11/2019   170 ORDER RESCHEDULING THE TRIAL as to JOHN THOMAS BURNETTE − The
                 defendant's motion to continue, ECF No. 155 , is granted. The clerk must re−notice the
                 trial for January 21, 2020. (Time excluded from 11/4/19 until 1/20/19. Jury Trial reset
                 for 1/21/2020 08:15 AM in U.S. Courthouse Tallahassee before JUDGE ROBERT L
                 HINKLE.) Signed by JUDGE ROBERT L HINKLE on 10/11/2019. (ckm) (Entered:
                 10/11/2019)
10/11/2019   171 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: Jury
                 Trial reset for 1/21/2020 08:15 AM before JUDGE ROBERT L HINKLE, United
                 States Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida
                 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3501 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 10/11/2019)
10/11/2019   174 ORDER ALLOWING THE DEFENDANT TO FILE A MOTION TO DISMISS
                 UNDER SEAL as to JOHN THOMAS BURNETTE (3) − The defendant's motion,
                 ECF No. 161 , for leave to file a motion to dismiss under seal is granted. The
                 defendant may file a motion to dismiss under seal. The defendant must simultaneously
                 file on the public docket a copy of the motion to dismiss with redactions only of
                 information that properly may be withheld from the public docket. Signed by JUDGE
                 ROBERT L HINKLE on 10/11/2019. (ckm) (Entered: 10/11/2019)
10/11/2019   175 ORDER QUASHING SERVICE OF THE COREY SUBPOENA as to JOHN
                 THOMAS BURNETTE (3) − Mr. Cory's motion to quash, ECF No. 156 , is granted.
                 Signed by JUDGE ROBERT L HINKLE on 10/11/2019. (ckm) (Entered: 10/11/2019)
  Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 25 of 50

10/14/2019   176 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Excerpt of Telephone
                 Conference − Defense Motion to Dismiss as to JOHN THOMAS BURNETTE, held
                 on 10/11/2019 before Judge Robert L. Hinkle. Court Reporter: Judy Gagnon.
                 Telephone number: 850−561−6822.

                           Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through
                           PACER.

                   Redaction Request due 10/21/2019. Release of Transcript Restriction set for
                   1/21/2020. (kjw) (Entered: 10/15/2019)
10/21/2019   177 MOTION to Dismiss the Indictment by JOHN THOMAS BURNETTE. (Attachments:
                 # 1 Exhibit 1− Entire document redacted, # 2 Exhibit 2− Excerpt of Former Special
                 Agent Doyle's report written on January 22, 2017, # 3 Exhibit 3− Emails from July 9−
                 August 1, 2019, # 4 Exhibit 4− Emails from August 6−7, 2019, # 5 Exhibit 5−
                 Transcript of Doyle's Interview with The Florida Bar, # 6 Exhibit 6− Expert's Report
                 of James Wedick, September 4, 2019, # 7 Exhibit 7− Excerpt of Transcript of October
                 4, 2016, Recorded Conversation, # 8 Exhibit 8− Excerpt of Transcript of October 5,
                 2016, Recorded Conversation, # 9 Exhibit 9− DOJ−0927061− Chart by Deborah Kelly
                 prepared on November 3, 2016, # 10 Exhibit 10− Entire document redacted, # 11
                 Exhibit 11− DOJ−0927058− Notes regarding Oglesby Interview, # 12 Exhibit 12−
                 Select portion of DOJ−0928822) (UFFERMAN, MICHAEL) (Entered: 10/21/2019)
10/21/2019   178 Sealed Document (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit
                 10, # 11 Exhibit 11, # 12 Exhibit 12) (ckm) (Entered: 10/21/2019)
10/22/2019   179 MOTION to Dismiss the Indictment (Corrected) by JOHN THOMAS BURNETTE.
                 (Attachments: # 1 Exhibit 1− Entire document redacted, # 2 Exhibit 2− Excerpt of
                 Former Special Agent Doyle's report written on January 22, 2017, # 3 Exhibit 3−
                 Emails from July 9− August 1, 2019, # 4 Exhibit 4− Emails from August 6−7, 2019, #
                 5 Exhibit 5− Transcript of Doyle's Interview with The Florida Bar, # 6 Exhibit 6−
                 Expert's Report of James Wedick, September 4, 2019, # 7 Exhibit 7− Excerpt of
                 Transcript of October 4, 2016, Recorded Conversation, # 8 Exhibit 8− Excerpt of
                 Transcript of October 5, 2016, Recorded Conversation, # 9 Exhibit 9− DOJ−0927061−
                 Chart by Deborah Kelly prepared on November 3, 2016, # 10 Exhibit 10− Entire
                 document redacted, # 11 Exhibit 11− DOJ−0927058− Notes regarding Oglesby
                 Interview, # 12 Exhibit 12− Select portion of DOJ−0928822− Capital Currency Chart)
                 (UFFERMAN, MICHAEL) (Entered: 10/22/2019)
10/22/2019         Set Deadline in case as to JOHN THOMAS BURNETTE re 179 Motion to Dismiss
                   (Internal deadline for referral to judge if response not filed earlier: 11/4/2019). (ckm)
                   (Entered: 10/23/2019)
10/24/2019   180 Amended MOTION to Dismiss the Indictment by JOHN THOMAS BURNETTE.
                 (Attachments: # 1 Exhibit 1− Entire document redacted, # 2 Exhibit 2− Excerpt of
                 Former Special Agent Doyle's report written on January 22, 2017, # 3 Exhibit 3−
                 Emails from July 9− August 1, 2019, # 4 Exhibit 4− Emails from August 6−7, 2019, #
                 5 Exhibit 5− Transcript of Doyle's Interview with The Florida Bar, # 6 Exhibit 6−
                 Expert's Report of James Wedick, September 4, 2019, # 7 Exhibit 7− Excerpt of
                 Transcript of October 4, 2016, Recorded Conversation, # 8 Exhibit 8− Excerpt of
                 Transcript of October 5, 2016, Recorded Conversation, # 9 Exhibit 9− DOJ−0927061−
                 Chart by Deborah Kelly prepared on November 3, 2016, # 10 Exhibit 10− Entire
                 document redacted, # 11 Exhibit 11− DOJ−0927058− Notes regarding Oglesby
                 Interview, # 12 Exhibit 12− Select portion of DOJ−0928822− Capital Currency Chart)
                 (UFFERMAN, MICHAEL) (Entered: 10/24/2019)
10/29/2019   181 (Unopposed) MOTION to Publicly File Response Containing Grand Jury Testimony
                 by USA as to JOHN THOMAS BURNETTE. (CATALDO, SIMON) Modified on
                 10/30/2019 to reflect document title (ckm). (Entered: 10/29/2019)
10/30/2019   182 MOTION for Hearing Regarding Possible Conflicts of Interest by USA as to SCOTT
                 CHARLES MADDOX, JANICE PAIGE CARTER−SMITH, JOHN THOMAS
                 BURNETTE. (CATALDO, SIMON) (Entered: 10/30/2019)
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10/30/2019         Set Deadline in case as to JOHN THOMAS BURNETTE re 182 Motion for Hearing
                   Regarding Possible Conflicts of Interest. (Internal deadline for referral to judge if
                   response not filed earlier: 11/13/2019.) (ckm) (Entered: 10/31/2019)
11/02/2019   183 ORDER granting 181 motion for leave to file specific grand−jury testimony as to
                 JOHN THOMAS BURNETTE (3). Signed by JUDGE ROBERT L HINKLE on
                 11/2/19. (RH) (Entered: 11/02/2019)
11/04/2019   184 RESPONSE to Motion by USA as to SCOTT CHARLES MADDOX, JANICE
                 PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE re 180 Amended
                 MOTION to Dismiss the Indictment (Attachments: # 1 Exhibit 1) (CATALDO,
                 SIMON) (Entered: 11/04/2019)
11/06/2019   185 MOTION for Bill of Particulars by JOHN THOMAS BURNETTE. (Attachments: # 1
                 Exhibit A − Burnette Oct 24 letter to Government, # 2 Exhibit B − Government Oct 29
                 response) (KEHOE, GREGORY) (Entered: 11/06/2019)
11/06/2019         Set Response Deadline in case as to JOHN THOMAS BURNETTE re 185 Motion for
                   Bill of Particulars. (Internal deadline for referral to judge if response not filed earlier:
                   11/20/2019.) (ckm) (Entered: 11/07/2019)
11/07/2019   186 Unopposed MOTION for Leave to File a Reply Memorandum (re: 184 Response) by
                 JOHN THOMAS BURNETTE. (UFFERMAN, MICHAEL) Modified on 11/13/2019
                 to link corresponding document (ckm). (Entered: 11/07/2019)
11/12/2019   187 RESPONSE in Opposition by JOHN THOMAS BURNETTE re 182 MOTION for
                 Hearing Regarding Possible Conflicts of Interest (KEHOE, GREGORY) (Entered:
                 11/12/2019)
11/12/2019   188 ORDER GRANTING LEAVE TO FILE A REPLY MEMORANDUM IN SUPPORT
                 OF THE MOTION TO DISMISS − Defendant's unopposed motion, ECF No. 186 , for
                 leave to file a reply memorandum in support of its motion to dismiss is granted. The
                 defendant may file a reply memorandum by 11/22/2019. Signed by JUDGE ROBERT
                 L HINKLE on 11/12/2019. (cle) (Entered: 11/13/2019)
11/19/2019   189 NOTICE OF ATTORNEY APPEARANCE: JORDAN LOUIS BEHLMAN appearing
                 for JOHN THOMAS BURNETTE (BEHLMAN, JORDAN) (Entered: 11/19/2019)
11/19/2019   190 Joint MOTION for Continuance and Status Conference by USA as to JOHN
                 THOMAS BURNETTE. (O'GARA, ROSALEEN) (Entered: 11/19/2019)
11/20/2019   191 RESPONSE to Motion John Thomas Burnette's 185 Motion for a Bill of Particulars by
                 USA as to JOHN THOMAS BURNETTE (CATALDO, SIMON) (Entered:
                 11/20/2019)
11/22/2019   192 REPLY TO RESPONSE to Motion by JOHN THOMAS BURNETTE re 184
                 Response to Motion (Amended) to Dismiss the Indictment (UFFERMAN, MICHAEL)
                 (Entered: 11/22/2019)
11/22/2019   193 ORDER denying 185 Motion for Bill of Particulars as to JOHN THOMAS
                 BURNETTE (3). Signed by JUDGE ROBERT L HINKLE on 11/22/19. (sms)
                 (Entered: 11/22/2019)
11/25/2019   194 ORDER FOR A HEARING ON PENDING MOTIONS as to JOHN THOMAS
                 BURNETTE (3) − The government's motion, ECF No. 182 , for a hearing on a
                 possible conflict of interest is granted. By a separate notice, the clerk must set a status
                 conference and hearing on the alleged possible conflict and all pending motions for the
                 first available date on or after December 3, 2019. The defendant John Thomas
                 Burnette must attend the part of the hearing dealing with the alleged possible conflict.
                 Mr. Burnette's original motion to dismiss, ECF Nos. 177 and 179 , is struck because it
                 has been superseded by the amended motion to dismiss, ECF No. 180 . Signed by
                 JUDGE ROBERT L HINKLE on 11/25/2019. (ckm) (Entered: 11/25/2019)
11/26/2019   195 NOTICE OF HEARING ON PENDING MOTIONS in case as to JOHN THOMAS
                 BURNETTE: Motion Hearing set for 12/19/2019 09:00 AM before JUDGE ROBERT
                 L HINKLE, United States Courthouse, Courtroom 5 East, 111 North Adams St.,
                 Tallahassee, Florida 32301.
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                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 11/26/2019)
12/16/2019   196 NOTICE OF FILING DECLARATION OF SPECIAL AGENT EVAN T. HURLEY IN
                 SUPPORT OF GOVERNMENT'S OPPOSITION TO 180 AMENDED MOTION TO
                 DISMISS by USA as to JOHN THOMAS BURNETTE (Attachments: # 1 Exhibit
                 Hurley Declaration) (GROGAN, ANDREW) Modified on 12/17/2019 to link
                 document (ckm). (Entered: 12/16/2019)
12/18/2019   197 STATUS REPORT on Discovery and Supplement to Joint Motion for Continuance
                 and Status Conference by JOHN THOMAS BURNETTE (Attachments: # 1 Exhibit A
                 − KLD December 12 2019 correspondence) (KEHOE, GREGORY) (Entered:
                 12/18/2019)
12/19/2019   198 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE as to JOHN
                 THOMAS BURNETTE: Status Conference/Motions Hearing held on 12/19/2019.
                 Court hears argument of counsel regarding potential conflict of interest, motion to
                 dismiss, and motion to continue trial. Ruling by Court: Defendant has waived any
                 potential conflict. Motion to Dismiss is denied. Trial is continued to April 20, 2020.
                 Government witness list due by January 31, 2020. Government exhibit list due by
                 January 21, 2020. Defendant witness and exhibit lists due 30 days thereafter. An order
                 will follow. (Court Reporter Lisa Snyder) (ckm) (Entered: 12/19/2019)
12/23/2019   199 ORDER RESCHEDULING THE TRIAL AND SETTING DEADLINES as to JOHN
                 THOMAS BURNETTE − Mr. Burnette's motion to dismiss, ECF No. 180 , is denied.
                 The motion to continue the trial, ECF No. 190 , is granted. The trial is rescheduled for
                 Monday, April 20, 2020. (Time excluded from 1/21/20 until 4/19/20.) Signed by
                 JUDGE ROBERT L HINKLE on 12/23/2019. (ckm) (Entered: 12/23/2019)
12/23/2019   200 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: Jury
                 Trial reset for 4/20/2020 08:15 AM before JUDGE ROBERT L HINKLE, United
                 States Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida
                 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 12/23/2019)
01/10/2020   203 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Motion Hearing Proceedings
                 as to JOHN THOMAS BURNETTE held on 12/19/2019, before Judge Robert Hinkle.
                 Court Reporter/Transcriber Lisa Snyder, Telephone number 850−597−4715.

                           Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber before the deadline for
                           Release of Transcript Restriction. After that date it may be obtained
                           through PACER.

                   Redaction Request due 1/17/2020. Release of Transcript Restriction set for 4/16/2020.
                   (ls) (Entered: 01/10/2020)
01/17/2020   206 NOTICE OF RELEASE OF LIS PENDENS AS TO 502 N. ADAMS STREET,
                 TALLAHASSEE, FL by USA as to SCOTT CHARLES MADDOX, JANICE PAIGE
                 CARTER−SMITH, JOHN THOMAS BURNETTE re 53 Notice of Lis Pendens
                 (KUNZ, STEPHEN) (Entered: 01/17/2020)
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01/17/2020   207 NOTICE OF RELEASE OF LIS PENDENS AS TO 208 W. CAROLINA ST,
                 TALLAHASSEE, FL by USA as to SCOTT CHARLES MADDOX, JANICE PAIGE
                 CARTER−SMITH, JOHN THOMAS BURNETTE re 52 Notice of Lis Pendens
                 (KUNZ, STEPHEN) (Entered: 01/17/2020)
01/17/2020   208 NOTICE OF PARTIAL RELEASE OF LIS PENDENS AS TO 209 W. GEORGIA
                 STREET, TALLAHASSEE, FL by USA as to SCOTT CHARLES MADDOX, JANICE
                 PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE re 51 Notice of Lis
                 Pendens (KUNZ, STEPHEN) (Entered: 01/17/2020)
01/23/2020   209 NOTICE of Withdrawal of Counsel by USA as to SCOTT CHARLES MADDOX,
                 JANICE PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE (CATALDO,
                 SIMON) (Entered: 01/23/2020)
01/23/2020         Attorney update in case as to SCOTT CHARLES MADDOX, JANICE PAIGE
                   CARTER−SMITH, JOHN THOMAS BURNETTE. Attorney SIMON CATALDO
                   terminated. (ckm) (Entered: 01/23/2020)
02/03/2020   210 Joint MOTION for Extension of Time to Serve Witness and Exhibit Lists by USA as to
                 JOHN THOMAS BURNETTE. (O'GARA, ROSALEEN) (Entered: 02/03/2020)
02/04/2020   211 ORDER EXTENDING THE DEADLINE FOR THE DEFENDANT'S WITNESS
                 AND EXHIBIT LISTS as to JOHN THOMAS BURNETTE (3) − The joint motion,
                 ECF No. 210 , to extend the deadline for the defendant's witness and exhibits lists is
                 granted. The deadline is extended to March 20, 2020. Signed by JUDGE ROBERT L
                 HINKLE on 2/4/2020. (ckm) (Entered: 02/04/2020)
02/27/2020   212 Omnibus MOTION in Limine to Exclude Irrelevant Evidence by USA as to JOHN
                 THOMAS BURNETTE. (Attachments: # 1 Exhibit A − Sept. 4, 2019 Expert Notice)
                 (NOTHSTEIN, PETER) Modified on 2/28/2020 to reflect document title (ckm).
                 (Entered: 02/27/2020)
02/27/2020   213 MOTION for Pretrial Scheduling Order by USA as to JOHN THOMAS BURNETTE.
                 (NOTHSTEIN, PETER) (Entered: 02/27/2020)
02/27/2020         Set Response Deadlines as to JOHN THOMAS BURNETTE re 212 Motion in Limine
                   and 213 Motion for Pretrial Scheduling Order. (Internal deadline for referral to judge if
                   response not filed earlier: 3/12/2020.) (ckm) (Entered: 02/28/2020)
03/02/2020   214 Stipulation by JOHN THOMAS BURNETTE as to JOHN THOMAS BURNETTE
                 (JANSEN, R) Modified on 3/2/2020 to reflect document title (ckm). (Entered:
                 03/02/2020)
03/03/2020   215 ORDER SETTING DEADLINES FOR EXPERT DISCLOSURES, MOTIONS,
                 STIPULATIONS, JURY INSTRUCTIONS, AND TRIAL BRIEFS as to JOHN
                 THOMAS BURNETTE (re 214 Stipulation) − The government's motion for a
                 scheduling order, ECF No. 213 , is granted. The deadline for expert disclosures is
                 March 20, 2020. The deadline for motions in limine, stipulations, and proposed jury
                 instructions and verdict forms is 3/30/2020. The parties may but are not required to file
                 trial briefs. The deadline for any trial brief is April 10, 2020. Signed by JUDGE
                 ROBERT L HINKLE on 3/3/2020. (ckm) (Entered: 03/03/2020)
03/09/2020   216 Ex Parte MOTION for a Rule 17(c) subpoena under seal by JOHN THOMAS
                 BURNETTE as to JOHN THOMAS BURNETTE. (Attachments: # 1 Affidavit
                 Affidavit of L Daniel, # 2 Exhibit Proposed Subpoena) (KEHOE, GREGORY)
                 Modified on 5/28/2020 to terminate motion (ckm). (Entered: 03/09/2020)
03/12/2020   217 RESPONSE in Opposition by JOHN THOMAS BURNETTE re 212 MOTION in
                 Limine to Exclude Irrelevant Evidence (KEHOE, GREGORY) (Entered: 03/12/2020)
03/17/2020   218 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 3/17/2020 03:00 PM before JUDGE ROBERT L
                 HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1234#
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                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 03/17/2020)
03/17/2020   219 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Status Conference as to JOHN THOMAS BURNETTE held on 3/17/2020. Parties
                 discuss pending trial. Ruling by Court: Trial will be rescheduled for June 1, 2020. Trial
                 subpoenas will be extended to the new trial date. Expert disclosure deadline is
                 extended to March 23. Certain other deadlines will be reset. An order is forthcoming.
                 (Court Reporter Megan Hague) (ckm) (Entered: 03/17/2020)
03/17/2020   220 ORDER CONTINUING THE TRIAL AND EXTENDING DEADLINES FOR
                 MOTIONS AND EXPERT DISCLOSURES as to JOHN THOMAS BURNETTE −
                 The clerk must re−notice the trial for Monday, June 1, 2020. The deadline for motions
                 in limine, stipulations, and proposed jury instructions and verdict forms is extended to
                 5/4/2020. The deadline for trial briefs is extended to 5/15/2020. (Time excluded from
                 4/20/2020 until 5/31/2020. Jury Trial reset for 6/1/2020 08:15 AM in U.S. Courthouse
                 Tallahassee before JUDGE ROBERT L HINKLE.) Signed by JUDGE ROBERT L
                 HINKLE on 3/17/2020. (ckm) (Entered: 03/18/2020)
03/18/2020   221 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: Jury
                 Trial reset for 6/1/2020 08:15 AM before JUDGE ROBERT L HINKLE, United States
                 Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 03/18/2020)
04/03/2020   225 ORDER REASSIGNING CASE. Case reassigned to MAGISTRATE JUDGE
                 MARTIN A FITZPATRICK for all further proceedings as to SCOTT CHARLES
                 MADDOX, JANICE PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE.
                 MAGISTRATE JUDGE CHARLES A STAMPELOS no longer assigned to case.
                 Signed by CHIEF JUDGE MARK E WALKER on 4/3/2020. **Please use the new
                 judge's initials for all future filings: 4:18cr76−RH/MAF. (pll) (Entered: 04/06/2020)
04/06/2020   226 ORDER OF RECUSAL in case as to SCOTT CHARLES MADDOX, JANICE
                 PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE. MAGISTRATE JUDGE
                 MARTIN A FITZPATRICK recused. Case reassigned to MAGISTRATE JUDGE
                 ELIZABETH M TIMOTHY for all further proceedings. Signed by MAGISTRATE
                 JUDGE MARTIN A FITZPATRICK on 4/6/2020. (amm) (Entered: 04/07/2020)
04/06/2020   227 MOTION Requesting Leave to File Motion Under Seal by USA as to JOHN
                 THOMAS BURNETTE. (Attachments: # 1 Motion, # 2 Exhibit A, # 3 Exhibit B, # 4
                 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Proposed Order) (ckm) (Attachment 2
                 replaced on 4/20/2020) (ckm). (Entered: 04/07/2020)
04/07/2020         ACTION REQUIRED BY MAGISTRATE JUDGE: Chambers of MAGISTRATE
                   JUDGE ELIZABETH M TIMOTHY notified that action is needed Re: 226 Order of
                   Recusal. (amm) (Entered: 04/07/2020)
04/13/2020   228 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 4/22/2020 10:00 AM before JUDGE ROBERT L
                 HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1234#

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 04/13/2020)
04/22/2020   230 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE as to JOHN
                 THOMAS BURNETTE: Telephonic Status Conference held on 4/22/2020. Court
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                   hears argument of counsel on Defendant's Sealed Ex Parte Motion, Government's
                   Sealed Motion and Defendant's Sealed Motion. Parties discuss trial and deadlines.
                   Ruling by Court: Trial is rescheduled for October 5, 2020. Status conference is set for
                   June 1 at 10:00 a.m. Ruling on motions will be detailed in an order to follow. (Court
                   Reporter Megan Hague) (ckm) (Entered: 04/22/2020)
04/22/2020   231 ORDER CONTINUING THE TRIAL, EXTENDING DEADLINES, AND
                 ADDRESSING PRETRIAL AND TRIAL PROCEDURES as to JOHN THOMAS
                 BURNETTE − The trial is continued to 10/5/2020 subject to adjustment if needed
                 based on covid−19 or the defendant's attorney's conflicting trial in the Eastern District
                 of Tennessee. The deadline for motions in limine, stipulations, and proposed jury
                 instructions and verdict forms is extended to 9/7/2020. The deadline for trial briefs is
                 extended to 9/18/2020. The government's motion to seal, ECF No. 227 , is granted in
                 part. The clerk must continue to maintain under seal ECF Nos. 227−1 and 227−2. The
                 clerk must unseal ECF No. 227 (the 2−page motion to seal) and ECF Nos. 227−3,
                 227−4, 227−5, 227−6, and 227−7. The government must file on the public docket by
                 5/13/2020 a properly redacted version of ECF Nos. 227−1. The defendant's motion to
                 seal, ECF No. 229 , is granted. The clerk must continue to maintain ECF No. 229
                 under seal. The defendant must file on the public docket by 5/13/2020 a properly
                 redacted version of ECF No. 229−1. The clerk must continue to maintain ECF Nos.
                 216 , 216−1, and 216−2 under seal. The clerk must continue to maintain ECF Nos. 216
                 and 216−1 ex parte, without allowing the government access. The clerk must make
                 ECF No. 216−2 available to the attorneys on both sides, no longer treating ECF No.
                 216−2 as ex parte, but must continue to maintain ECF No. 216−2 under seal. The
                 government must file by 4/29/2020 any objection to the defendant's requested
                 subpoena, ECF No. 216−2. The government's motion for a protective order as to the
                 undercover agents, ECF No. 227−1, is granted in part and denied in part. By a separate
                 notice, the clerk must set a status conference by telephone for 6/1/2020 at 10:00 AM.
                 (Time excluded from 6/1/2020 until 10/4/2020.) Signed by JUDGE ROBERT L
                 HINKLE on 4/22/2020. (ckm) (Entered: 04/23/2020)
04/23/2020   232 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: Jury
                 Trial reset for 10/5/2020 08:15 AM before JUDGE ROBERT L HINKLE, United
                 States Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida
                 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 04/23/2020)
04/23/2020   233 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 6/1/2020 10:00 AM before JUDGE ROBERT L
                 HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1234#

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 04/23/2020)
04/26/2020   234 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status Conference
                 Proceedings as to JOHN THOMAS BURNETTE held on 4/22/2020, before Judge
                 Robert L. Hinkle. Court Reporter/Transcriber Megan A. Hague, Telephone number
                 850−422−0011.

                           Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber before the deadline for
                           Release of Transcript Restriction. After that date it may be obtained
                           through PACER.
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                   Redaction Request due 5/4/2020. Release of Transcript Restriction set for 8/3/2020.
                   (mah) (Entered: 04/26/2020)
04/27/2020   235 Unopposed Amended MOTION for Rule 17(c) Subpoena Under Seal by JOHN
                 THOMAS BURNETTE. (KEHOE, GREGORY) Modified on 4/27/2020 to reflect
                 document title and add sealed subpoena (ckm). (Additional attachment(s) added on
                 4/27/2020: # 1 Exhibit Exhibit A) (ckm). (Entered: 04/27/2020)
04/28/2020   236 ORDER AUTHORIZING SUBPOENA RETURNABLE PRIOR TO TRIAL as to
                 JOHN THOMAS BURNETTE (3) − The defendant's unopposed motion, ECF No. 235
                 , to authorize issuance of his proposed subpoena, ECF No. 235−1, is granted. The
                 clerk must take all steps necessary to issuance of the subpoena, and the defendant may
                 have it served. Signed by JUDGE ROBERT L HINKLE on 4/28/2020. (ckm)
                 (Entered: 04/28/2020)
04/30/2020   237 ***FILED IN ERROR − Corrected document filed at ECF No. 239 *** MOTION for
                 Leave to File Motion for In Camera Review of Paige Carter−Smith's Financial
                 Affidavit(s) Under Seal by JOHN THOMAS BURNETTE. (KEHOE, GREGORY)
                 Modified on 4/30/2020 (ckm). (Entered: 04/30/2020)
04/30/2020   238 MOTION for Leave to File the Motion to Compel by JOHN THOMAS BURNETTE.
                 (KEHOE, GREGORY) Modified on 4/30/2020 (ckm). (Entered: 04/30/2020)
04/30/2020   239 MOTION Requesting Leave to File Motion Under Seal by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 04/30/2020)
04/30/2020   242 MOTION to Seal Docket Entry 238 by JOHN THOMAS BURNETTE. (KEHOE,
                 GREGORY) (Entered: 04/30/2020)
04/30/2020   243 Amended MOTION for Leave to File Motion Under Seal by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 04/30/2020)
05/01/2020   245 MOTION for Leave to File Motions Under Seal by USA as to JOHN THOMAS
                 BURNETTE. (NOTHSTEIN, PETER) (Entered: 05/01/2020)
05/08/2020   246 NOTICE of Availability by JOHN THOMAS BURNETTE re 231 Order (KEHOE,
                 GREGORY) (Entered: 05/08/2020)
05/10/2020   247 ORDER GRANTING LEAVE TO FILE UNDER SEAL AND CONTINUING
                 SENTENCINGS as to SCOTT CHARLES MADDOX (1), JANICE PAIGE
                 CARTER−SMITH (2) and JOHN THOMAS BURNETTE (3) − The parties'
                 unopposed motions, ECF Nos. 237 , 238 , 239 , 243 , and 245 , for leave to file under
                 seal are granted. Until otherwise ordered, the clerk must maintain these filings under
                 seal: ECF Nos. 237 , 238 , 239 , 240 , 241 , 243 , 244 , any not−yet−filed motion
                 described in ECF No. 245 but not ECF No. 245 itself, and responses to any of these.
                 The defendant's motion, ECF No. 242 , to correct docket text is granted. The text has
                 been corrected. By separate notice, the clerk must reschedule the sentencings of
                 defendants Maddox and Carter−Smith for an available date on or after October 26,
                 2020. Signed by JUDGE ROBERT L HINKLE on 5/10/2020. (ckm) (Entered:
                 05/11/2020)
05/11/2020   249 Redacted MOTION in Limine to Exclude Defendant's Recording Excerpts by USA as
                 to JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 6/1/2020 to
                 reflect redacted − sealed version at ECF 254 (ckm). (Entered: 05/11/2020)
05/11/2020   250 Redacted MOTION in Limine to Exclude Improper Expert Testimony by USA as to
                 JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 6/1/2020 to
                 reflect redacted (ckm). Modified on 6/1/2020 to terminate motion as instructed by
                 Chambers − sealed version at ECF 251 (ckm). (Entered: 05/11/2020)
05/13/2020   252 (Redacted) Response in Opposition to Government's Motion for Protective Order by
                 JOHN THOMAS BURNETTE (KEHOE, GREGORY) Modified on 5/14/2020 to
                 reflect document title (ckm). (Entered: 05/13/2020)
05/13/2020   253 (Redacted) MOTION for Protective Order Pertaining to the Testimony of the
                 Undercover Agents at Trial by USA as to JOHN THOMAS BURNETTE. (O'GARA,
                 ROSALEEN) Modified on 5/28/2020 to terminate motion as instructed by Chambers
                 (ckm). (Entered: 05/13/2020)
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05/21/2020   255 Consent MOTION Requesting Leave to File Motion Under Seal by USA as to JOHN
                 THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 5/22/2020 to reflect
                 document title (ckm). (Entered: 05/21/2020)
05/22/2020   256 MOTION for Leave to File Response Motion Under Seal by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 05/22/2020)
05/22/2020   257 MOTION for Leave to File Response Motion Under Seal by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 05/22/2020)
05/26/2020   258 SEALED Response in Opposition to Government's Sealed 254 Motion in Limine to
                 Exclude Defendant's Recording Excerpts (ckm) Modified on 6/1/2020 to reflect
                 document title (ckm). (Entered: 05/26/2020)
05/26/2020   259 SEALED Response in Opposition to Government's Sealed 251 Motion in Limine to
                 Exclude Improper Expert Testimony (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                 Exhibit C) (ckm) Modified on 6/1/2020 to reflect document title (ckm). (Entered:
                 05/26/2020)
05/28/2020   260 Consent MOTION Requesting Additional Time to Respond to Motion and Correcting
                 Government's Position by USA as to JOHN THOMAS BURNETTE. (NOTHSTEIN,
                 PETER) Modified on 5/29/2020 to reflect document title (ckm). (Entered: 05/28/2020)
05/28/2020   261 Redacted MOTION in Limine to Exclude Improper Defense Witnesses by USA as to
                 JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 6/1/2020 to
                 terminate motion as instruction by Chambers − sealed version at ECF 263 (ckm).
                 (Entered: 05/28/2020)
05/28/2020   262 NOTICE of Filing Amended Certificate of Conference Regarding Docket Entry 241 by
                 JOHN THOMAS BURNETTE (KEHOE, GREGORY) (Entered: 05/28/2020)
06/01/2020   264 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Status Conference as to JOHN THOMAS BURNETTE held on 6/1/2020. Parties
                 discuss trial date. Court hears argument of counsel on pending motions. Ruling by
                 Court: Trial remains scheduled for October 5, 2020. Transcripts of recordings being
                 used at trial will be due one month before trial. Rulings on pending motions will be
                 provided in an order to follow. (Court Reporter Lisa Snyder) (ckm) (Entered:
                 06/01/2020)
06/01/2020   265 ORDER ON MOTIONS IN LIMINE AND TO SEAL as to JOHN THOMAS
                 BURNETTE (3) − The trial remains set for October 5, 2020. The pending motions to
                 seal, ECF Nos. 255 , 256 , and 257 , are granted. The government's motion in limine,
                 ECF No. 212 , is granted in part and denied in part. Mr. Burnette's motion, ECF No.
                 240 , to compel the government to turn over United States Marshals Service forfeiture
                 analyses and worksheets is denied. Mr. Burnette's motion, ECF No. 241 , for in camera
                 review of Ms. Carter−Smith's financial statements is denied. The government's motion
                 in limine, ECF No. 251 , is granted. The government's motion in limine, ECF No. 254
                 , to exclude recordings is granted in part and denied in part. The government's motion,
                 ECF No. 260 , to extend the deadline for responding to ECF Nos. 240 and 241 is
                 denied as moot. The government's motion to exclude witnesses, ECF No. 263 , is
                 granted to the extent set out above. The deadline to disclose to the other party a
                 transcript for any recording that will be introduced is September 8, 2020. Signed by
                 JUDGE ROBERT L HINKLE on 6/1/2020. (ckm) (Entered: 06/02/2020)
06/11/2020   266 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status Conference
                 Proceedings as to JOHN THOMAS BURNETTE held on 6/1/2020, before Judge
                 Robert Hinkle. Court Reporter/Transcriber Lisa Snyder, Telephone number
                 850−597−4715.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber before the deadline for
                          Release of Transcript Restriction. After that date it may be obtained
                          through PACER.

                  Redaction Request due 6/18/2020. Release of Transcript Restriction set for 9/16/2020.
                  (ls) (Entered: 06/11/2020)
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07/13/2020   267 RESPONSE in Opposition by JOHN THOMAS BURNETTE re 250 MOTION in
                 Limine to Exclude Improper Expert Testimony (Redacted version) (KEHOE,
                 GREGORY) (Entered: 07/13/2020)
07/13/2020   268 RESPONSE in Opposition by JOHN THOMAS BURNETTE re 249 MOTION in
                 Limine To Exclude Defendant's Recording Excerpts (Redacted version) (KEHOE,
                 GREGORY) (Entered: 07/13/2020)
07/24/2020   269 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 7/29/2020 09:15 AM before JUDGE ROBERT L
                 HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1234#

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 07/24/2020)
07/29/2020   270 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Status Conference as to JOHN THOMAS BURNETTE held on 7/29/2020. Parties
                 discuss trial date and procedures for conducting trial. Ruling by Court: Trial tentatively
                 continued to January 11, 2021. A telephonic status conference will be set in early
                 September. Trial briefs will be due 28 days before the trial. All other deadlines remain
                 the same. An order to follow. (Court Reporter Lisa Snyder) (ckm) (Entered:
                 07/29/2020)
07/30/2020   271 ORDER CONTINUING THE TRIAL as to JOHN THOMAS BURNETTE − The trial
                 is continued to January 11, 2021. By a separate notice, the clerk must set a status
                 conference by telephone in early September. The deadline for trial briefs is 28 days
                 before the trial. (Time excluded from 10/5/2020 until 1/10/2021.) Signed by JUDGE
                 ROBERT L HINKLE on 7/30/2020. (ckm) (Entered: 07/30/2020)
07/30/2020   272 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: Jury
                 Trial reset for 1/11/2021 08:15 AM before JUDGE ROBERT L HINKLE, United
                 States Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida
                 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 07/30/2020)
07/30/2020   273 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 9/3/2020 03:15 PM before JUDGE ROBERT L
                 HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1234#

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 07/30/2020)
08/10/2020   274 Joint MOTION To Apply Trial Subpoenas to New Date by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 08/10/2020)
08/10/2020   275 Joint MOTION To Apply Notice And Disclosure Deadlines To Ultimate Trial Date re
                 271 Order to Continue − Ends of Justice, by JOHN THOMAS BURNETTE. (KEHOE,
                 GREGORY) (Entered: 08/10/2020)
08/11/2020   276 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status Conference
                 Proceedings as to JOHN THOMAS BURNETTE held on 7/29/2020, before Judge
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                   Robert Hinkle. Court Reporter/Transcriber Lisa Snyder, Telephone number
                   850−567−1374.

                           Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber before the deadline for
                           Release of Transcript Restriction. After that date it may be obtained
                           through PACER.

                   Redaction Request due 8/18/2020. Release of Transcript Restriction set for
                   11/16/2020. (ls) (Entered: 08/11/2020)
08/16/2020   277 ORDER APPLYING SUBPOENAS TO THE NEW TRIAL DATE as to JOHN
                 THOMAS BURNETTE (3) − The joint motion to apply trial subpoenas to the new
                 trial date, ECF No. 274 , is granted. Subpoenas requiring appearance at the trial as
                 previously scheduled are deemed amended to require appearance at the trial as now
                 rescheduled for January 11, 2021. Signed by JUDGE ROBERT L HINKLE on
                 8/16/2020. (ckm) (Entered: 08/17/2020)
08/16/2020   278 ORDER ON DEADLINES DETERMINED BY REFERENCE TO THE TRIAL
                 DATE as to JOHN THOMAS BURNETTE (3) (granting 275 Motion). Signed by
                 JUDGE ROBERT L HINKLE on 8/16/2020. (ckm) (Entered: 08/17/2020)
09/03/2020   279 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Status Conference as to JOHN THOMAS BURNETTE held on 9/3/2020. Parties
                 discuss trial readiness, proposed protocol for conducting jury trial, and pretrial
                 deadlines. Ruling by Court: Pretrial stipulation due October 5. Jury instructions and
                 verdict forms due September 8. Transcript edits will be turned over on a rolling basis
                 but must be submitted by November 2. Exhibits to be exchanged by November 2. Any
                 exhibits affected by the edited transcripts due by December 6. Telephonic status
                 conference will be set for November 5 at 3:15 p.m. Trial moved to January 25. An
                 order will follow. (Court Reporter Lisa Snyder) (ckm) (Entered: 09/03/2020)
09/04/2020   280 ORDER AMENDING THE SCHEDULE as to JOHN THOMAS BURNETTE − The
                 trial is rescheduled for January 25, 2021, and, as before, may be moved further if
                 necessary to accommodate the defendant's attorney's conflicting trial in the Southern
                 District of New York. The deadline for any filings that were due 30 days or one month
                 before the trial is changed to 35 days before the trial. The deadline for filings that were
                 due on September 7, including for stipulations, motions in limine, and proposed jury
                 instructions and verdict forms, is extended to September 8. By a separate notice, the
                 clerk must set a telephonic status conference for November 5 at 3:15 p.m. (Time
                 excluded from 1/11/2021 until 1/24/2021. Pretrial documents due by 9/8/2020. Jury
                 Trial set for 1/25/2021 08:15 AM before JUDGE ROBERT L HINKLE.) Signed by
                 JUDGE ROBERT L HINKLE on 9/4/2020. (ckm) (Entered: 09/04/2020)
09/04/2020   281 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: Jury
                 Trial reset for 1/25/2021 08:15 AM before JUDGE ROBERT L HINKLE, United
                 States Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida
                 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 09/04/2020)
09/04/2020   282 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 11/5/2020 03:15 PM before JUDGE ROBERT L
                 HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1234#
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                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 09/04/2020)
09/08/2020   286 Defendant's Proposed Sealed Verdict Form (ckm) Modified on 9/30/2020 (ckm).
                 (Entered: 09/08/2020)
09/08/2020   287 Proposed Verdict Form by USA as to JOHN THOMAS BURNETTE (NOTHSTEIN,
                 PETER) (Entered: 09/08/2020)
09/08/2020   288 Proposed Jury Instructions by USA as to JOHN THOMAS BURNETTE
                 (NOTHSTEIN, PETER) (Entered: 09/08/2020)
09/08/2020   289 Second Omnibus MOTION in Limine to Exclude Irrelevant Evidence (Redacted) by
                 USA as to JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on
                 9/9/2020 to reflect document title (ckm). Modified on 9/30/2020 to terminate motion
                 as directed by chambers; sealed motion is at 290 (ckm). (Entered: 09/08/2020)
09/09/2020   291 Unopposed MOTION Requesting Extension of Pretrial Deadlines by USA as to JOHN
                 THOMAS BURNETTE. (NOTHSTEIN, PETER) (Entered: 09/09/2020)
09/09/2020   292 NOTICE of Filing Proposed Verdict Form by JOHN THOMAS BURNETTE
                 (Attachments: # 1 Exhibit A − Proposed Verdict Form) (KEHOE, GREGORY)
                 (Entered: 09/09/2020)
09/11/2020   296 ORDER EXTENDING THE DEADLINE FOR STIPULATIONS AND APPLYING
                 SUBPOENAS TO THE NEW TRIAL DATE as to JOHN THOMAS BURNETTE −
                 The unopposed motion to extend the deadline for stipulations and to apply trial
                 subpoenas to the new trial date, ECF No. 291 , is granted. The deadline for stipulations
                 is extended to October 5, 2020. Subpoenas requiring appearance at the trial as
                 previously scheduled are deemed amended to require appearance at the trial as now
                 rescheduled for January 25, 2021. (Stipulations due by 10/5/2020.) Signed by JUDGE
                 ROBERT L HINKLE on 9/11/2020. (ckm) (Entered: 09/11/2020)
09/15/2020   297 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status Conference
                 as to JOHN THOMAS BURNETTE held on 9/3/2020, before Judge Robert Hinkle.
                 Court Reporter/Transcriber Lisa Snyder, Telephone number 850−567−1374.

                           Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber before the deadline for
                           Release of Transcript Restriction. After that date it may be obtained
                           through PACER.

                   Redaction Request due 9/22/2020. Release of Transcript Restriction set for
                   12/21/2020. (ls) (Entered: 09/15/2020)
09/17/2020   298 MOTION for Leave to File an Ex−Parte Exhibit for In Camera Review in Support of
                 Defendant's Opposition to the Government's Second Omnibus Motion in Limine to
                 Exclude Irrelevant Evidence and Motion for Extension of Time by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 09/17/2020)
09/17/2020   299 RESPONSE in Opposition by USA as to JOHN THOMAS BURNETTE re 298
                 MOTION for Leave to File an Ex−Parte Exhibit for In Camera Review in Support of
                 Defendant's Opposition to the Government's Second Omnibus Motion in Limine to
                 Exclude Irrelevant Evidence and Motion for Extension of Time (NOTHSTEIN,
                 PETER) (Entered: 09/17/2020)
09/17/2020   301 Sealed Opposition to Defendant's 298 Motion for Leave to File an Ex Parte Exhibit
                 (ckm) Modified on 9/30/2020 (ckm). (Entered: 09/18/2020)
09/18/2020   300 Unopposed MOTION for Leave to File Reply Memorandum to Government's
                 Opposition to Defendant's Motion for Leave to File Ex Parte Exhibit by JOHN
                 THOMAS BURNETTE. (KEHOE, GREGORY) Modified on 9/21/2020 to reflect
                 unopposed (ckm). (Entered: 09/18/2020)
09/22/2020   302 RESPONSE in Opposition by JOHN THOMAS BURNETTE re 289 MOTION in
                 Limine (Redacted) (KEHOE, GREGORY) (Entered: 09/22/2020)
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09/22/2020   303 Sealed Opposition to Defendant's 284 and 285 Motions in Limine by USA (ckm)
                 Modified on 9/30/2020 (ckm). (Entered: 09/22/2020)
09/22/2020   304 Sealed Opposition to Defendant's 283 Motion for Special Jury Instruction by USA
                 (ckm) Modified on 9/30/2020 (ckm). (Entered: 09/22/2020)
09/22/2020   305 Sealed Opposition to Government's 290 Second Omnibus Motion in Limine by JOHN
                 THOMAS BURNETTE (redacted Opposition at 302 ) (Attachments: # 1 Exhibit A, #
                 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, #
                 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                 M) (ckm) Modified on 9/30/2020 (ckm). (Entered: 09/22/2020)
10/02/2020   306 ORDER DENYING LEAVE TO FILE EX PARTE AND ADDRESSING SEALING
                 as to JOHN THOMAS BURNETTE − Mr. Burnette must show cause by October 12,
                 2020, why ECF Nos. 283 , 285 , 286 , and 305 (including the attachments to ECF No.
                 305 ) should not be unsealed, why he should not be required to file a properly redacted
                 version of ECF No. 284 , and why, if ECF Nos. 283 , 285 , and 286 remain sealed, he
                 should not be required to file a properly redacted version of them. Mr. Burnette's
                 motion, ECF No. 298 , for leave to file an ex parte memorandum is denied. Mr.
                 Burnette's motion, ECF No. 300 , for leave to file reply memorandum is denied. (Show
                 Cause Response due by 10/12/2020.) Signed by JUDGE ROBERT L HINKLE on
                 10/2/2020. (ckm) (Entered: 10/05/2020)
10/02/2020   307 ORDER ON TESTIMONY ON THE DEFENDANT'S STATE OF MIND as to JOHN
                 THOMAS BURNETTE (3) − The defendant's motion in limine as to testimony about
                 what was in the defendant's mind, ECF No. 284 , is granted in part. Signed by JUDGE
                 ROBERT L HINKLE on 10/2/2020. (ckm) (Entered: 10/05/2020)
10/05/2020   308 Sealed Stipulation (ckm) (Entered: 10/06/2020)
10/09/2020   309 RESPONSE TO 306 ORDER TO SHOW CAUSE by JOHN THOMAS BURNETTE
                 (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C, # 4
                 Exhibit Exhibit D) (KEHOE, GREGORY) (Entered: 10/09/2020)
10/15/2020   310 MOTION for Leave to File to Supplement Sealed Opposition to the Government's
                 Second Omnibus Motion in Limine to Exclude Irrelevant Evidence (redacted version;
                 sealed/unredacted version at 312 ) by JOHN THOMAS BURNETTE. (KEHOE,
                 GREGORY) Modified on 10/16/2020 (ckm). (Entered: 10/15/2020)
10/15/2020   311 ORDER ON TESTIMONY ON WHETHER THERE WAS A PROPER PURPOSE
                 FOR A PAYMENT as to JOHN THOMAS BURNETTE (3) − The defendant's motion
                 in limine as to testimony about whether there was a proper purpose for a payment,
                 ECF No. 285 , is granted in part. Signed by JUDGE ROBERT L HINKLE on
                 10/15/2020. (ckm) (Entered: 10/15/2020)
10/19/2020   313 ORDER ALLOWING A SUPPLEMENTAL RESPONSE TO ECF NO. 290 as to
                 JOHN THOMAS BURNETTE (3) − The defendant's motion, ECF No. 312 , for leave
                 to file a supplemental response to the government's motion to exclude a witness's
                 out−of−court, after−the−fact statements about transactions at issue, ECF No. 290 , is
                 granted. Signed by JUDGE ROBERT L HINKLE on 10/19/2020. (ckm) (Entered:
                 10/20/2020)
10/28/2020   314 Supplement to 303 Sealed Opposition to Government's 290 Second Omnibus Motion
                 in Limine to Exclude Irrelevant Evidence by JOHN THOMAS BURNETTE (KEHOE,
                 GREGORY) Modified on 10/28/2020 − unredacted version filed at 315 (ckm).
                 (Entered: 10/28/2020)
10/28/2020   315 (Unredacted) Supplement to 303 Sealed Opposition to the Government's 290 Second
                 Omnibus Motion in Limine to Exclude Irrelevant Evidence (Attachments: # 1 Exhibit
                 A, # 2 Exhibit B, # 3 Exhibit C) (ckm) (redacted version at 314 (Entered: 10/28/2020)
11/03/2020   316 MOTION for Leave to File Sealed Reply to Defendant's 314 Supplemental Response
                 in Opposition to Government's 290 Second Omnibus Motion in Limine by USA as to
                 JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 11/4/2020 to
                 amend title and link corresponding documents (ckm). (Entered: 11/03/2020)
11/05/2020   317 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Status Conference as to JOHN THOMAS BURNETTE held on 11/5/2020. Ruling by
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                   Court: Trial remains scheduled for January 25 but will be monitored for safety
                   measures. Motion for Leave to File is granted. Motion for Special Jury Instructions is
                   denied. Another status conference will be set for mid−December. An order will follow.
                   (Court Reporter Lisa Snyder) (ckm) (Entered: 11/05/2020)
11/05/2020   318 Sealed Reply to Defendant's 315 Supplemental Response in Opposition to the
                 Government's 290 Second Omnibus Motion in Limine (Attachments: # 1 Exhibit A, #
                 2 Exhibit B, # 3 Exhibit C) (ckm) (Entered: 11/05/2020)
11/06/2020   319 ORDER DENYING THE 283 MOTION FOR A SPECIAL JURY INSTRUCTION as
                 to JOHN THOMAS BURNETTE (3). Signed by JUDGE ROBERT L HINKLE on
                 11/6/2020. (ckm) (Entered: 11/06/2020)
11/06/2020   320 ORDER ALLOWING A SUPPLEMENTAL MEMORANDUM as to JOHN
                 THOMAS BURNETTE (3) − The government's motion, ECF No. 316 , for leave to
                 file under seal a supplemental memorandum in support of the government's motion in
                 limine, ECF No. 290 , is granted. Signed by JUDGE ROBERT L HINKLE on
                 11/6/2020. (ckm) (Entered: 11/06/2020)
11/06/2020   321 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 12/14/2020 01:00 PM before JUDGE ROBERT
                 L HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
                   Security code: 1234#

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 11/06/2020)
12/01/2020   322 MOTION to Continue Trial (Unopposed) by JOHN THOMAS BURNETTE.
                 (Attachments: # 1 Exhibit A − Administrative Order 2020−13, Sixth Amendment)
                 (KEHOE, GREGORY) (Entered: 12/01/2020)
12/01/2020   323 ORDER CONTINUING THE TRIAL AND EXTENDING DEADLINES as to JOHN
                 THOMAS BURNETTE − The motion to continue, ECF No. 322 , is granted. The trial
                 is rescheduled for July 12, 2021, beginning with an attorney conference at 8:15 a.m.
                 The deadline for final exhibit and witness lists is extended to 5/15/2021. The deadline
                 for trial briefs and any additional motions in limine is extended to 6/1/2021. Unless a
                 party files by December 4 a request to go forward with the December 14 status
                 conference, the clerk must cancel the status conference and reschedule it for the first
                 available date on or after March 10, 2021. [Time excluded from 1/25/2021 until
                 7/11/2021. Jury Trial set for 7/12/2021 08:15 AM in U.S. Courthouse Tallahassee
                 before JUDGE ROBERT L HINKLE.) Signed by JUDGE ROBERT L HINKLE on
                 12/1/2020. (ckm) (Entered: 12/01/2020)
12/02/2020   324 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: Jury
                 Trial reset for 7/12/2021 08:15 AM before JUDGE ROBERT L HINKLE, United
                 States Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida
                 32301.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 12/02/2020)
12/07/2020   325 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE: The
                 telephonic Status Conference scheduled for December 14, 2020 at 1:00 p.m. is
                 canceled and rescheduled for 3/10/2021 03:30 PM before JUDGE ROBERT L
                 HINKLE.

                   Call in number: 888−684−8852
                   Access code: 3243416#
  Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 38 of 50

                  Security code: 1234#

                  Proceedings may not be recorded or otherwise broadcast for public dissemination.

                  s/ Cindy Markley
                  Courtroom Deputy Clerk (ckm) (Entered: 12/07/2020)
03/10/2021   330 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Status Conference as to JOHN THOMAS BURNETTE held on 3/10/2021. Ruling by
                 Court: Trial remains scheduled for July 12. Motion in Limine is denied. An additional
                 case management/status conference will be set the week of June 21. An order will
                 follow. (Court Reporter Lisa Snyder) (ckm) (Entered: 03/10/2021)
03/15/2021   331 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status Conference
                 as to JOHN THOMAS BURNETTE held on 3/10/2021, before Judge Robert Hinkle.
                 Court Reporter/Transcriber Lisa Snyder, Telephone number 850−567−1374.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber before the deadline for
                          Release of Transcript Restriction. After that date it may be obtained
                          through PACER.

                  Redaction Request due 3/22/2021. Release of Transcript Restriction set for 6/21/2021.
                  (ls) (Entered: 03/15/2021)
03/15/2021   332 MOTION to Compel Brady Information Regarding Trial Preparation Notes Produced
                 to Defendant in the Government's Thirty−Fifth (35th) Production by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) Modified on 3/16/2021 to reflect sealed
                 (unredacted) motion filed at 335 (ckm). (Entered: 03/15/2021)
03/15/2021   333 MOTION for a Pretrial James Hearing, or, in the Alternative, for an Order
                 Compelling the Government to Make a Pretrial Proffer by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) Modified on 3/16/2021 to reflect sealed
                 (unredacted) motion filed at 334 (ckm). (Entered: 03/15/2021)
03/17/2021   336 ORDER ON THE MOTION TO EXCLUDE KILLEARN AND MEDIA EVIDENCE
                 as to JOHN THOMAS BURNETTE (3) − The government's motion in limine, ECF
                 No. 290 , is granted in part and denied in part. Signed by JUDGE ROBERT L
                 HINKLE on 3/17/2021. (ckm) (Entered: 03/18/2021)
03/18/2021   337 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Case Management Conference set for 6/24/2021 10:00 AM before JUDGE
                 ROBERT L HINKLE.

                  Call in number: 888−684−8852
                  Access code: 3243416#
                  Security code: 1234#

                  Proceedings may not be recorded or otherwise broadcast for public dissemination.

                  s/ Cindy Markley
                  Courtroom Deputy Clerk (ckm) (Entered: 03/18/2021)
03/29/2021   338 RESPONSE in Opposition by USA as to JOHN THOMAS BURNETTE re 332
                 MOTION to Compel Brady Information Regarding Trial Preparation Notes Produced
                 to Defendant in the Government's Thirty−Fifth (35th) Production [Redacted]
                 (NOTHSTEIN, PETER) Modified on 3/30/2021 to reflect unredacted version filed at
                 340 (ckm). (Entered: 03/29/2021)
03/29/2021   339 RESPONSE in Opposition by USA as to JOHN THOMAS BURNETTE re 333
                 MOTION for Hearing Pretrial James Hearing, or, in the Alternative, for an Order
                 Compelling the Government to Make a Pretrial Proffer [Redacted] (NOTHSTEIN,
                 PETER) Modified on 3/30/2021 to reflect unredacted version filed at 341 (ckm).
                 (Entered: 03/29/2021)
03/29/2021   340 Sealed Document (Unredacted Response to 335 Motion to Compel) − Redacted
                 response filed at 338 (ckm) (Entered: 03/30/2021)
  Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 39 of 50

03/29/2021   341 Sealed Document (Unredacted Response to 334 Motion for Pretrial James Hearing) −
                 Redacted response filed at 339 (ckm) (Entered: 03/30/2021)
04/11/2021   342 ORDER DENYING THE 332 and 335 MOTION TO COMPEL BRADY
                 DISCLOSURES as to JOHN THOMAS BURNETTE (3). Signed by JUDGE
                 ROBERT L HINKLE on 4/11/2021. (ckm) (Entered: 04/13/2021)
04/12/2021   343 ORDER DENYING A JAMES HEARING (re 333 and 334 Motions) as to JOHN
                 THOMAS BURNETTE (3). Signed by JUDGE ROBERT L HINKLE on 4/12/2021.
                 (ckm) (Entered: 04/13/2021)
06/01/2021   344 NOTICE of Intent to Present Reverse Federal Rule of Evidence 404(b) Evidence
                 (Redacted) by JOHN THOMAS BURNETTE (KEHOE, GREGORY) Modified on
                 6/3/2021 to reflect unredacted version filed at 347 (ckm). (Entered: 06/01/2021)
06/01/2021   345 Objection to Government's Notice of Intent to Admit Evidence Under Rule 404(b)
                 Notice (Redacted) by JOHN THOMAS BURNETTE (KEHOE, GREGORY) Modified
                 on 6/2/2021 to reflect document title (ckm). Modified on 6/3/2021 to reflected
                 unredacted version filed at 348 (ckm). (Entered: 06/01/2021)
06/01/2021   346 MOTION in Limine Omnibus (Redacted) by JOHN THOMAS BURNETTE.
                 (Attachments: # 1 Exhibit A − Govt. Ex 201, # 2 Exhibit B − Govt. Ex 206, # 3
                 Exhibit C − Govt. Ex 207, # 4 Exhibit D − Govt. Ex 232, # 5 Exhibit E − Maddox
                 Benefit Schedule, # 6 Exhibit F − Govt. Ex 344, # 7 Exhibit G − Govt. Ex 345, # 8
                 Exhibit H − Govt. Ex 349, # 9 Exhibit I − Govt. Ex 82 − Transcript of Govt. Ex 78, #
                 10 Exhibit J − Govt. Ex 91(j) − Transcript of Govt. Ex 91(I), # 11 Exhibit K − Govt.
                 Ex 92(h) − Transcript of − Govt. Ex 92(g), # 12 Exhibit L − Govt. Ex 96(b) −
                 Transcript of Govt. Ex 96(a), # 13 Exhibit M − Govt. Ex 96(f) − Transcript of Govt.
                 Ex 96(e)) (KEHOE, GREGORY) Modified on 6/3/2021 to reflect unredacted version
                 filed at 349 (ckm). (Entered: 06/01/2021)
06/01/2021   347 Sealed Document (Unredacted Notice of Intent to Present Reverse Federal Rule of
                 Evidence 404(b) Evidence) − Redacted Notice at 344 (ckm) (Entered: 06/03/2021)
06/01/2021   348 Sealed Document (Unredacted Objection to Government's Notice of Intent to Admit
                 Evidence Under Rule 404(b) Notice) − Redacted Objection at 345 (ckm) (Entered:
                 06/03/2021)
06/01/2021   351 MOTION Requesting Leave to File Trial Memorandum in Excess of 8,000 Words
                 Under Seal by USA as to JOHN THOMAS BURNETTE. (ckm) (Entered: 06/03/2021)
06/04/2021   353 MOTION in Limine to Exclude Improper Expert Testimony − Redacted by USA as to
                 JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 6/7/2021 to
                 reflect unredacted version at 350 (ckm). (Entered: 06/04/2021)
06/07/2021   354 ORDER GRANTING LEAVE TO EXCEED THE WORD LIMIT as to JOHN
                 THOMAS BURNETTE (3) − The government's unopposed motion, ECF No. 351 , for
                 leave to file a trial brief in excess of the word limit is granted. The brief, ECF No. 352
                 , is accepted as filed. Signed by JUDGE ROBERT L HINKLE on 6/7/2021. (ckm)
                 (Entered: 06/07/2021)
06/10/2021   355 MOTION Requesting Leave to File a Motion in Limine After the Motions Deadline by
                 USA as to JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on
                 6/10/2021 to correct document title. (kjw) (Entered: 06/10/2021)
06/11/2021   356 ORDER GRANTING LEAVE TO FILE UNTIMELY MOTION IN LIMINE as to
                 JOHN THOMAS BURNETTE. The government's unopposed motion, ECF No. 355 ,
                 for leave to file a motion in limine after the deadline is granted. The government may
                 file the motion by 6/18/2021. Signed by JUDGE ROBERT L HINKLE on 6/11/2021.
                 (kjw) (Entered: 06/11/2021)
06/15/2021   357 Objection to 353 Motion in Limine to Exclude Improper Expert Testimony − Redacted
                 by JOHN THOMAS BURNETTE (KEHOE, GREGORY) Modified on 6/16/2021 to
                 reflect document title (ckm). Modified on 6/16/2021 to reflect unredacted version at
                 358 (ckm). (Entered: 06/15/2021)
06/15/2021   358 Sealed Document (Unredacted Objection to Government's Sealed 353 Motion in
                 Limine to Exclude Improper Expert Testimony) (Attachments: # 1 Composite Exhibit
                 1) (ckm) (Redacted version at 357 ) (Entered: 06/16/2021)
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06/15/2021   359 Sealed Document (Government's Sealed Opposition to 349 Omnibus Motion in Limine
                 (ckm) Modified on 6/21/2021 redacted version at 361 (ckm). (Entered: 06/16/2021)
06/15/2021   360 Sealed Document (Government's Sealed Response to Defendant's Sealed Objection to
                 Government's Notice of Intent to Admit Evidence Under Rule 404(b) Notice) (ckm)
                 Modified on 6/21/2021 to reflect redacted version at 363 (ckm). (Entered: 06/16/2021)
06/17/2021   361 RESPONSE in Opposition to Defendant's 346 Omnibus Motion in Limine [Redacted]
                 by USA as to JOHN THOMAS BURNETTE (NOTHSTEIN, PETER) Modified on
                 6/21/2021 to reflect unredacted version filed at 359 (ckm). (Entered: 06/17/2021)
06/17/2021   362 Unopposed MOTION for Leave to File Reply Memorandum to Government's Sealed
                 Opposition to Defendant's Omnibus Motion in Limine by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 06/17/2021)
06/17/2021   363 RESPONSE to Defendant's 345 Objection to Government's Notice of Intent to Admit
                 Evidence Under Rule 404(b) Notice (Redacted) by USA as to JOHN THOMAS
                 BURNETTE re (NOTHSTEIN, PETER) Modified on 6/21/2021 to reflect unredacted
                 version at 360 . (ckm) (Entered: 06/17/2021)
06/18/2021   364 ORDER granting 362 Motion for Leave to File as to JOHN THOMAS BURNETTE
                 (3). The defendant may file a reply memorandum by June 22, 2021. Signed by JUDGE
                 ROBERT L HINKLE on 6/18/21. (sms) (Entered: 06/18/2021)
06/18/2021   365 MOTION in Limine to Exclude Reverse 404(b) Evidence [Redacted] by USA as to
                 JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 6/22/2021 to
                 reflect unredacted version at 366 (ckm). (Entered: 06/18/2021)
06/22/2021   367 REPLY to Government's 361 Opposition to Defendant's 346 Omnibus Motion in
                 Limine (Redacted) by JOHN THOMAS BURNETTE (KEHOE, GREGORY)
                 Modified on 6/23/2021 to reflect unredacted version at 368 (ckm). (Entered:
                 06/22/2021)
06/22/2021   368 Sealed Document (Unredacted Reply to Government's 359 Sealed Opposition to
                 Defendant's 349 Omnibus Motion in Limine) (ckm) (Redacted version at 367 )
                 (Entered: 06/22/2021)
06/23/2021   369 Sealed Document (Government's Notice of Filing Disclosure Letter) (ckm) (Entered:
                 06/23/2021)
06/24/2021   370 Sealed Document (Defendant's Response to 369 Notice of Filing Disclosure Letter)
                 (ckm) (Entered: 06/24/2021)
06/24/2021   371 RESPONSE to 369 Government's Notice of Filing Disclosure Letter (Redacted) by
                 JOHN THOMAS BURNETTE (KEHOE, GREGORY) Modified on 6/25/2021 (ckm).
                 (Entered: 06/24/2021)
06/24/2021   372 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Telephonic
                 Case Management Conference as to JOHN THOMAS BURNETTE held on 6/24/2021.
                 Court provides information and clarification of documents filed under seal. Court
                 addresses Government's sealed notice of filing (ECF 369) and Defendant's response
                 (ECF 370). Court addresses pending motions in limine and hears argument of counsel
                 on some issues raised in those motions. Parties discuss trial protocol. Ruling by Court:
                 Defendant's request in ECF 370 is denied. Rulings on motions in limine will be
                 detailed in an order to follow. Trial remains scheduled for July 12 with an attorney
                 conference beginning at 8:15 a.m. (Court Reporter Judy Gagnon) (ckm) (Entered:
                 06/24/2021)
06/25/2021   373 PRETRIAL ORDER AND RULING ON MOTIONS IN LIMINE as to JOHN
                 THOMAS BURNETTE (3) (granting 366 Motion; granting in part and denying in part
                 349 Motion; denying 350 Motion). Signed by JUDGE ROBERT L HINKLE on
                 6/25/2021. (ckm) (Entered: 06/25/2021)
06/28/2021   374 Government's Notice of Filing Disclosure Letter (Redacted) by USA as to JOHN
                 THOMAS BURNETTE. (NOTHSTEIN, PETER) Modified on 6/29/2021 to reflect the
                 unredacted version at 369 . (kjw) (Entered: 06/28/2021)
07/07/2021   375 MOTION to Allow Use of Headphones and for Defense Trial Consultants to Use
                 Audio/Video Systems and Laptops During Trial by JOHN THOMAS BURNETTE.
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                  (KEHOE, GREGORY) (Entered: 07/07/2021)
07/07/2021   376 Amended MOTION re 375 MOTION to Allow Use of Headphones and for Defense
                 Trial Consultants to Use Audio/Video Systems and Laptops During Trial by JOHN
                 THOMAS BURNETTE. (KEHOE, GREGORY) (Entered: 07/07/2021)
07/07/2021   377 Sealed Document (Defendant's Proposed Jury Questions) (ckm) (Entered: 07/08/2021)
07/09/2021   378 RESPONSE in Opposition by USA as to JOHN THOMAS BURNETTE re 376
                 Amended MOTION re 375 MOTION to Allow Use of Headphones and for Defense
                 Trial Consultants to Use Audio/Video Systems and Laptops During Trial
                 (NOTHSTEIN, PETER) (Entered: 07/09/2021)
07/09/2021   379 Sealed Document (Government's Notice of Filing Disclosure Letter) (ckm) (Entered:
                 07/09/2021)
07/09/2021   382 Sealed Document (Government's Proposed Voir Dire Questions) (ckm) (Entered:
                 07/09/2021)
07/09/2021   383 NOTICE OF ATTORNEY APPEARANCE: KAYLI DANIELLE SMENDEC
                 appearing for JOHN THOMAS BURNETTE (SMENDEC, KAYLI) (Entered:
                 07/09/2021)
07/09/2021        Attorney update in case as to JOHN THOMAS BURNETTE. Attorney KAYLI
                  DANIELLE SMENDEC added. (ckm) (Entered: 07/09/2021)
07/10/2021   385 (Unopposed) MOTION Requesting the Court to Accept Proposed Jury Voir Dire Filed
                 After the Deadline by USA as to JOHN THOMAS BURNETTE. (NOTHSTEIN,
                 PETER) Modified on 7/10/2021 (ckm). (Entered: 07/10/2021)
07/11/2021   386 Supplement to Defendant's 376 Amended Motion to Allow Use of Headphones and for
                 Defense Trial Consultants to Use Audio/Video Systems and Laptops During Trial by
                 JOHN THOMAS BURNETTE (Attachments: # 1 Exhibit A − July 11, 2021 Letter
                 from Bruce Koenig, including C.V.) (KEHOE, GREGORY) Modified on 7/11/2021 to
                 reflect document title (ckm). (Entered: 07/11/2021)
07/12/2021   387 MOTION to Exclude (Redacted) as an Expert Witness by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 07/12/2021)
07/12/2021   388 NOTICE Defendant's Redacted Response to Government's Notice of Filing Disclosure
                 Letter Dated July 9, 2021 by JOHN THOMAS BURNETTE (KEHOE, GREGORY)
                 (Entered: 07/12/2021)
07/12/2021   389 NOTICE Sealed Supplement to Defendant's Sealed Response to Government's Notice
                 of Filing Disclosure Letter Dated July 9, 2021 by JOHN THOMAS BURNETTE
                 (KEHOE, GREGORY) (Entered: 07/12/2021)
07/12/2021   390 Sealed Document (Government's Opposition to 384 Motion) (ckm) (Entered:
                 07/12/2021)
07/12/2021   392 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Attorney
                 Conference as to JOHN THOMAS BURNETTE held on 7/12/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 07/13/2021)
07/12/2021   393 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Voir Dire
                 held on 7/12/2021 as to JOHN THOMAS BURNETTE. (Court Reporter Judy Gagnon)
                 (ckm) (Entered: 07/13/2021)
07/12/2021   394 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury
                 Selection as to JOHN THOMAS BURNETTE held on 7/12/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 07/13/2021)
07/12/2021   395 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 1) as to JOHN THOMAS BURNETTE held on 7/12/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/13/2021)
07/12/2021   446 STIPULATION as to JOHN THOMAS BURNETTE (Attachments: # 1 Table A, # 2
                 Table B) (ckm) (Entered: 08/19/2021)
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07/12/2021   447 STIPULATION as to JOHN THOMAS BURNETTE (Attachments: # 1 Exhibit A)
                 (ckm) (Entered: 08/19/2021)
07/13/2021   396 NOTICE Defendant's Redacted Response to Government's Motion to Exclude
                 Impeachment Material by JOHN THOMAS BURNETTE (KEHOE, GREGORY)
                 (Entered: 07/13/2021)
07/13/2021   397 Sealed Document (SEALED NOTICE ON JUROR WITH VACATION PLANS)
                 (ckm) (Entered: 07/13/2021)
07/13/2021   398 Sealed Document (Defendant's Response to Government's 391 Motion to Exclude)
                 (ckm) (Entered: 07/13/2021)
07/13/2021   399 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 2) as to JOHN THOMAS BURNETTE held on 7/13/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/13/2021)
07/14/2021   400 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 3) as to JOHN THOMAS BURNETTE held on 7/14/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/14/2021)
07/15/2021   401 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 4) as to JOHN THOMAS BURNETTE held on 7/15/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/15/2021)
07/16/2021   402 STATEMENT ON THE BREAK IN THE TRIAL (sms) (Entered: 07/16/2021)
07/16/2021   403 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 5) as to JOHN THOMAS BURNETTE held on 7/16/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/16/2021)
07/18/2021   405 SEALED ORDER as to JOHN THOMAS BURNETTE. Signed by JUDGE ROBERT
                 L HINKLE on 7/18/2021. (ckm) (Entered: 07/19/2021)
07/19/2021   404 SEALED ORDER as to JOHN THOMAS BURNETTE. Signed by JUDGE ROBERT
                 L HINKLE on 7/19/2021. (ckm) (Entered: 07/19/2021)
07/19/2021   408 STATEMENT ON RESUMPTION OF THE TRIAL as to JOHN THOMAS
                 BURNETTE − The trial will resume at 9:00 a.m. on Tuesday, July 20, 2021. Signed
                 by JUDGE ROBERT L HINKLE on 7/19/2021. (ckm) (Entered: 07/19/2021)
07/20/2021   411 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 6) as to JOHN THOMAS BURNETTE held on 7/20/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/20/2021)
07/21/2021   412 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 7) as to JOHN THOMAS BURNETTE held on 7/21/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/21/2021)
07/22/2021   413 SEALED ORDER as to JOHN THOMAS BURNETTE. Signed by JUDGE ROBERT
                 L HINKLE on 7/22/2021. (ckm) (Entered: 07/22/2021)
07/22/2021   414 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 8) as to JOHN THOMAS BURNETTE held on 7/22/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/22/2021)
07/23/2021   415 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 9) as to JOHN THOMAS BURNETTE held on 7/23/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 07/23/2021)
07/26/2021   417 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 10) as to JOHN THOMAS BURNETTE held on 7/26/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 07/26/2021)
07/27/2021   418 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 11) as to JOHN THOMAS BURNETTE held on 7/27/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 07/27/2021)
07/27/2021   419 Discussion draft: official−act instruction. Issued by JUDGE ROBERT L HINKLE on
                 7/27/21. (RH) (Entered: 07/27/2021)
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07/28/2021   420 STATEMENT ON BREAK IN THE TRIAL as to JOHN THOMAS BURNETTE.
                 Signed by JUDGE ROBERT L HINKLE on 7/28/2021. (ckm) (Entered: 07/28/2021)
07/28/2021   421 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 12) as to JOHN THOMAS BURNETTE held on 7/28/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 07/28/2021)
07/29/2021   422 NOTICE OF TELEPHONIC HEARING as to JOHN THOMAS BURNETTE:
                 Telephonic Status Conference set for 8/5/2021 02:00 PM before JUDGE ROBERT L
                 HINKLE.

                  Call in number: 888−684−8852
                  Access code: 3243416#
                  Security code: 1234#

                  Proceedings may not be recorded or otherwise broadcast for public dissemination.

                  s/ Cindy Markley
                  Courtroom Deputy Clerk (ckm) (Entered: 07/29/2021)
08/04/2021   423 Sealed Document (Government's Revised Proposed Jury Instructions) (Attachments: #
                 1 Exhibit A) (ckm) (Entered: 08/04/2021)
08/05/2021   424 SEALED Draft Jury Instructions as to JOHN THOMAS BURNETTE. Signed by
                 JUDGE ROBERT L HINKLE on 8/5/2021. (ckm) (Entered: 08/05/2021)
08/05/2021   426 ORDER SCHEDULING THE RESUMPTION OF THE TRIAL as to JOHN
                 THOMAS BURNETTE. Signed by JUDGE ROBERT L HINKLE on 8/5/2021. (sms)
                 (Entered: 08/05/2021)
08/09/2021   430 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 13) as to JOHN THOMAS BURNETTE held on 8/9/2021. (Court Reporter Judy
                 Gagnon) (ckm) (Entered: 08/09/2021)
08/10/2021   431 MOTION for Judgment of Acquittal by JOHN THOMAS BURNETTE. (KEHOE,
                 GREGORY) (Entered: 08/10/2021)
08/10/2021   432 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 14) as to JOHN THOMAS BURNETTE held on 8/10/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 08/10/2021)
08/11/2021   433 JURY INSTRUCTIONS (sms) (Entered: 08/11/2021)
08/11/2021   434 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE:Jury Trial
                 (Day 15) as to JOHN THOMAS BURNETTE held on 8/11/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 08/11/2021)
08/12/2021   435 RESPONSE in Opposition by USA as to JOHN THOMAS BURNETTE re 431
                 MOTION for Acquittal (GROGAN, ANDREW) (Entered: 08/12/2021)
08/12/2021   436 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 16) as to JOHN THOMAS BURNETTE held on 8/12/2021. (Court Reporter
                 Judy Gagnon) (ckm) (Entered: 08/13/2021)
08/13/2021   437 MOTION for Leave to File Reply Memorandum to Government's Response to
                 Defendant's Motion for Acquittal by JOHN THOMAS BURNETTE. (KEHOE,
                 GREGORY) (Entered: 08/13/2021)
08/13/2021   438 ORDER FOR JURY MEALS as to JOHN THOMAS BURNETTE (Copy to Finance).
                 Signed by JUDGE ROBERT L HINKLE on 8/13/2021. (ckm) (Entered: 08/13/2021)
08/13/2021   439 ORDER granting 437 Motion for Leave to File as to JOHN THOMAS BURNETTE
                 (3). Signed by JUDGE ROBERT L HINKLE on 8/13/21. (sms) (Entered: 08/13/2021)
08/13/2021   440 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Jury Trial
                 (Day 17) as to JOHN THOMAS BURNETTE held on 8/13/2021. Defendant
                 adjudicated Guilty on Counts 2, 5, 6, 8 and 9, and Not Guilty on Counts 1, 3, 4 and 7.
                 Sentencing set for October 28, 2021 at 1:00 p.m. (Court Reporter Judy Gagnon)
                 (Attachments: # 1 Exhibit List, # 2 Govt Exhibits 4−91h, # 3 Govt Exhibits 92a−92d, #
  Case 4:18-cr-00076-RH-EMT Document 518 Filed 11/15/21 Page 44 of 50

                  4 Govt Exhibits 92f−93f, # 5 Govt Exhibits 94−118, # 6 Govt Exhibit 121 (pgs 1−38),
                  # 7 Govt Exhibit 121s (pgs 39−62) thru 145, # 8 Govt Exhibits 146−171, # 9 Govt
                  Exhibits 172−187, # 10 Govt Exhibit 201, # 11 Govt Exhibits 203−405, # 12 Govt
                  Exhibits 406−410, # 13 Def Exhibits 4−27, # 14 Def Exhibits 30−107, # 15 Def
                  Exhibits 109−230, # 16 Def Exhibits 232−346, # 17 Def Exhibits 348−392, # 18 Def
                  Exhibits 397−625j, # 19 Def Exhibit 625k (pgs 1−59), # 20 Def Exhibit 625k (pgs
                  60−120), # 21 Def Exhibit 625k (pgs 121−189), # 22 Def Exhibit 625k (pgs 190−254),
                  # 23 Def Exhibit 625k (pgs 255−277), # 24 Def Exhibits 625l−625m, # 25 Def
                  Exhibits 625n−647, # 26 Def Exhibits 664−973) (ckm) (Entered: 08/16/2021)
08/13/2021   441 Jury Notes as to JOHN THOMAS BURNETTE (ckm) (Entered: 08/16/2021)
08/13/2021   442 JURY VERDICT (Redacted) as to JOHN THOMAS BURNETTE (3) − Guilty on
                 Counts 2s, 5s, 6s, 8s, 9s and Not Guilty on Counts 1s, 3s−4s, 7s. (ckm) (Entered:
                 08/16/2021)
08/13/2021   443 Sealed Document (Unredacted Verdict) (ckm) (Entered: 08/16/2021)
08/16/2021   444 NOTICE OF HEARING as to JOHN THOMAS BURNETTE: Sentencing set for
                 10/28/2021 01:00 PM before JUDGE ROBERT L HINKLE, United States
                 Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee, Florida 32301.

                  Per Administrative Order, all persons who enter any courthouse within the Northern
                  District of Florida are required to wear face masks or other face coverings that cover
                  the person's nose and mouth while in any public or common area within the facility,
                  and all unvaccinated persons should also practice social distancing measures.

                  Regardless of vaccination status, Judge Hinkle requires that all persons in his
                  courtroom wear masks.

                  NOTE: If you or any party, witness or attorney in this matter has a disability that
                  requires special accommodation, such as a hearing impairment that requires a sign
                  language interpreter or a wheelchair restriction that requires ramp access, please
                  contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                  to the hearing (or as soon as possible) so arrangements can be made.

                  s/ Cindy Markley
                  Courtroom Deputy Clerk (ckm) (Entered: 08/16/2021)
08/24/2021   449 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Attorney Conference and First
                 Day of Trial as to JOHN THOMAS BURNETTE held on 7/12/2021 before Judge
                 Robert L. Hinkle. Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   450 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Second Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/13/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   451 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Third Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/14/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.
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                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   452 NOTICE OF FILING OF OFFICIAL TRANSCRIPT OF SEALED PROCEEDINGS
                 as to JOHN THOMAS BURNETTE held on 7/14/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896. (kjw) (Entered:
                 08/27/2021)
08/24/2021   453 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Fourth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/15/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   454 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Fifth Day of Trial as to JOHN
                 THOMAS BURNETTE held on 7/16/2021 before Judge Robert L. Hinkle. Court
                 Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   455 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephone Conference as to
                 JOHN THOMAS BURNETTE held on 7/19/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   456 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Sixth Day of Trial as to JOHN
                 THOMAS BURNETTE held on 7/20/2021 before Judge Robert L. Hinkle. Court
                 Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   457 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Seventh Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/21/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.
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                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   458 NOTICE OF FILING OF OFFICIAL TRANSCRIPT OF Seventh Day of Trial
                 (Unredacted) as to JOHN THOMAS BURNETTE held on 7/21/2021 before Judge
                 Robert L. Hinkle. Court Reporter: Judy Gagnon, Telephone number 850−443−7896.
                 (kjw) (Entered: 08/27/2021)
08/24/2021   459 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Eighth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/22/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   460 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Ninth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/23/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   461 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Tenth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/26/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   462 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Eleventh Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/27/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   463 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Twelfth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 7/28/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.
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                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   464 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Thirteenth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 8/9/2021 before Judge Robert L. Hinkle. Court
                 Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   465 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Fourteenth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 8/10/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   466 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Fifteenth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 8/11/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   467 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Sixteenth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 8/12/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.

                  Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                  11/29/2021. (kjw) (Entered: 08/27/2021)
08/24/2021   468 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Seventeenth Day of Trial as to
                 JOHN THOMAS BURNETTE held on 8/13/2021 before Judge Robert L. Hinkle.
                 Court Reporter: Judy Gagnon, Telephone number 850−443−7896.

                          Transcript may be viewed at the court public terminal or purchased
                          through the Court Reporter before the deadline for Release of
                          Transcript Restriction. After that date it may be obtained through
                          PACER.
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                   Redaction Request due 8/31/2021. Release of Transcript Restriction set for
                   11/29/2021. (kjw) (Entered: 08/27/2021)
09/13/2021   483 Renewed MOTION for Judgment of Acquittal by JOHN THOMAS BURNETTE.
                 (KEHOE, GREGORY) Modified on 9/14/2021 (ckm). (Entered: 09/13/2021)
09/16/2021   484 ORDER UNSEALING DOCUMENTS as to SCOTT CHARLES MADDOX, JANICE
                 PAIGE CARTER−SMITH, JOHN THOMAS BURNETTE − The clerk must unseal
                 ECF Nos. 441 , 473 , 474 , 475 , 475−1, 475−5, 475−6, 475−7, 475−8, 475−10,
                 475−14, 475−15, 475−16, 475−17, 475−18, 475−19, 476 , 477 (but not the
                 attachments), and 479 . Signed by JUDGE ROBERT L HINKLE on 9/16/2021. (ckm)
                 (Entered: 09/16/2021)
09/22/2021   489 Unopposed MOTION to Extend Time to File Opposition to 483 Motion for Judgment
                 of Acquittal by USA as to JOHN THOMAS BURNETTE. (NOTHSTEIN, PETER)
                 (Entered: 09/22/2021)
09/22/2021   490 Unopposed MOTION to Continue Sentencing Hearing by JOHN THOMAS
                 BURNETTE. (KEHOE, GREGORY) (Entered: 09/22/2021)
09/23/2021   492 DRAFT PRESENTENCE INVESTIGATION REPORT as to JOHN THOMAS
                 BURNETTE. E−copies made available to selected parties. Responses to the Draft
                 Report are due by 10/7/2021. (McCommon, April) (Entered: 09/23/2021)
09/27/2021   493 ORDER RESCHEDULING THE SENTENCING AND EXTENDING THE
                 DEADLINE TO RESPOND TO THE MOTION FOR JUDGMENT OF ACQUITTAL
                 as to JOHN THOMAS BURNETTE − The defendant's unopposed motion to continue
                 the sentencing, ECF No. 490 , is granted. The sentencing is rescheduled for 11/9/2021
                 at 1:00 PM. The government's unopposed motion, ECF No. 489 , to extend the
                 deadline to respond to the motion for judgment of acquittal is granted. The deadline is
                 extended to 10/18/2021. Signed by JUDGE ROBERT L HINKLE on 9/27/2021. (ckm)
                 (Entered: 09/27/2021)
09/27/2021   494 NOTICE OF RESCHEDULED HEARING as to JOHN THOMAS BURNETTE:
                 Sentencing reset for 11/9/2021 01:00 PM before JUDGE ROBERT L HINKLE,
                 United States Courthouse, Courtroom 5 East, 111 North Adams St., Tallahassee,
                 Florida 32301.

                   Per Administrative Order, all persons who enter any courthouse within the Northern
                   District of Florida are required to wear face masks or other face coverings that cover
                   the person's nose and mouth while in any public or common area within the facility,
                   and all unvaccinated persons should also practice social distancing measures.

                   Regardless of vaccination status, Judge Hinkle requires that all persons in his
                   courtroom wear masks.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Cindy Markley at 850−521−3518 in the Clerk's Office at least one week prior
                   to the hearing (or as soon as possible) so arrangements can be made.

                   s/ Cindy Markley
                   Courtroom Deputy Clerk (ckm) (Entered: 09/27/2021)
10/07/2021   495 Sealed Document (ls) (Entered: 10/07/2021)
10/07/2021   496 RESPONSE to 492 Presentence Investigation Report as to JOHN THOMAS
                 BURNETTE. PDF access restricted to the court, U.S. Probation, counsel for the
                 defendant, and counsel for the United States of America. (Attachments: # 1 Exhibit A,
                 # 2 Exhibit B, # 3 Exhibit Composite C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                 7 Exhibit Composite G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, #
                 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit Composite O, # 16 Exhibit
                 P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22
                 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit Z, # 27
                 Exhibit AA, # 28 Exhibit BB, # 29 Exhibit CC, # 30 Exhibit DD, # 31 Exhibit EE, #
                 32 Exhibit Composite FF, # 33 Exhibit GG, # 34 Exhibit HH, # 35 Exhibit II, # 36
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                  Exhibit JJ, # 37 Exhibit KK, # 38 Exhibit LL, # 39 Exhibit MM, # 40 Exhibit NN, # 41
                  Exhibit OO, # 42 Exhibit PP, # 43 Exhibit QQ) (KEHOE, GREGORY) (Entered:
                  10/07/2021)
10/15/2021   497 (Unopposed) MOTION Requesting Leave to File Response to Defendant's 483
                 Renewed Motion for Judgment of Acquittal Exceeding 8,000 Words by USA as to
                 JOHN THOMAS BURNETTE. (Attachments: # 1 Exhibit A − Gov. Opp. to Mot. for
                 Judgment of Acquittal) (NOTHSTEIN, PETER) Modified on 10/18/2021 to reflect
                 document title and link related motion (ckm). (Entered: 10/15/2021)
10/15/2021   498 MOTION to Appear Pro Hac Vice by Amy Mason Saharia( Filing fee $ 208 receipt
                 number AFLNDC−6475764.) by JOHN THOMAS BURNETTE. (Attachments: # 1
                 Exhibit 1, # 2 Text of Proposed Order) (SAHARIA, AMY) (Entered: 10/15/2021)
10/18/2021        ACTION REQUIRED BY MAGISTRATE JUDGE: Chambers of MAGISTRATE
                  JUDGE ELIZABETH M TIMOTHY notified that action is needed Re: 498 MOTION
                  to Appear Pro Hac Vice by Amy Mason Saharia (Filing fee $ 208 receipt number
                  AFLNDC−6475764) filed by Defendant JOHN THOMAS BURNETTE. Referred to
                  ELIZABETH M TIMOTHY. (ckm) (Entered: 10/18/2021)
10/18/2021   499 ORDER GRANTING LEAVE TO EXCEED THE WORD LIMIT (granting 497
                 Motion for Leave to File) as to JOHN THOMAS BURNETTE (3). The government's
                 memorandum, ECF No. 497−1, is deemed properly filed. Signed by JUDGE ROBERT
                 L HINKLE on 10/18/2021. (ckm) (Entered: 10/18/2021)
10/19/2021   500 ORDER as to JOHN THOMAS BURNETTE (3). The Motion to Appear Pro Hac Vice
                 (ECF No. 498 ) is GRANTED. Attorney Amy Mason Saharia is authorized to appear
                 pro hac vice on behalf of Defendant Burnette. Signed by MAGISTRATE JUDGE
                 ELIZABETH M TIMOTHY on 10/19/2021. (sdw) (Entered: 10/19/2021)
10/25/2021   503 NOTICE OF FILING OF OFFICIAL TRANSCRIPT OF JURY−RELATED
                 PROCEEDINGS as to JOHN THOMAS BURNETTE held on 7/12/2021 before Judge
                 Robert L. Hinkle. Court Reporter: Judy Gagnon, Telephone number: 850−443−7896.
                 (PDF sealed per the Privacy Policy.) (kjw) (Entered: 10/26/2021)
10/26/2021   504 Unopposed MOTION for Leave to File Sentencing Memorandum in Excess of 8,000
                 Words by JOHN THOMAS BURNETTE. (KEHOE, GREGORY) (Entered:
                 10/26/2021)
11/01/2021   505 ORDER ALLOWING THE DEFENDANT TO FILE A MEMORANDUM
                 EXCEEDING THE WORD LIMIT AND SETTING A DEADLINE as to JOHN
                 THOMAS BURNETTE − The defendant's unopposed motion, ECF No. 504 , for leave
                 to file a sentencing memorandum in excess of the word limit is granted. The deadline
                 for a memorandum is 11/4/2021 but the memorandum should be filed by November 2
                 if possible. Signed by JUDGE ROBERT L HINKLE on 11/1/2021. (ckm) (Entered:
                 11/01/2021)
11/02/2021   506 FINAL PRESENTENCE INVESTIGATION REPORT as to JOHN THOMAS
                 BURNETTE. E−copies made available to selected parties. (McCommon, April)
                 (Entered: 11/02/2021)
11/02/2021   507 (Unopposed) MOTION Requesting Leave to File Sentencing Memorandum Exceeding
                 8,000 Words by USA as to JOHN THOMAS BURNETTE. (Attachments: # 1 Exhibit
                 Sentencing Memo) (NOTHSTEIN, PETER) (Entered: 11/02/2021)
11/03/2021   508 ORDER ALLOWING THE GOVERNMENT TO FILE A MEMORANDUM
                 EXCEEDING THE WORD LIMIT as to JOHN THOMAS BURNETTE (3) − The
                 government's unopposed motion, ECF No. 507 , for leave to file a sentencing
                 memorandum in excess of the word limit is granted. The government's memorandum,
                 ECF No. 507−1, is deemed properly filed. Signed by JUDGE ROBERT L HINKLE on
                 11/3/2021. (ckm) (Entered: 11/03/2021)
11/04/2021   509 ORDER GIVING NOTICE OF A POSSIBLE ADDITIONAL BASIS FOR A
                 GUIDELINE ENHANCEMENT FOR OBSTRUCTION as to JOHN THOMAS
                 BURNETTE. Signed by JUDGE ROBERT L HINKLE on 11/4/21. (sms) (Entered:
                 11/04/2021)
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11/04/2021   510 Sealed Document (Burnette Sentencing Memorandum) (Attachments: # 1 Exhibits
                 A−Z, # 2 Exhibits AA−ZZ) (ckm) (Entered: 11/04/2021)
11/04/2021   511 (Redacted) SENTENCING MEMORANDUM by JOHN THOMAS BURNETTE
                 (KEHOE, GREGORY) Modified on 11/5/2021 to reflect redacted (ckm). (Entered:
                 11/04/2021)
11/08/2021   512 REVISED FINAL PRESENTENCE INVESTIGATION REPORT as to JOHN
                 THOMAS BURNETTE. E−copies made available to selected parties. (McCommon,
                 April) (Entered: 11/08/2021)
11/09/2021   513 Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Sentencing
                 held on 11/9/2021 for JOHN THOMAS BURNETTE (3). Count(s) 2s, 5s, 6s, 8s, 9s,
                 36 months custody BOP to run concurrently; 1 year Supervised Release; $500 SMA;
                 $1,250,000 Fine; Restitution in the amount of $20,000 jointly and severally with
                 co−defendants. Defense to file written motion for release pending appeal by
                 11/12/2021. Government has 3 weeks to file response. (Court Reporter Judy Gagnon.)
                 (amm) (Entered: 11/09/2021)
11/09/2021        Set Deadlines as to JOHN THOMAS BURNETTE: Motions due by 11/12/2021.
                  (Internal deadline for referral to judge if response not filed earlier: 12/3/2021). (amm)
                  (Entered: 11/09/2021)
11/11/2021   514 JUDGMENT as to JOHN THOMAS BURNETTE (3), Count(s) 2s, 5s, 6s, 8s, 9s, 36
                 months custody BOP on Counts 2, 5, 6, 8 and 9, to run concurrently. 1 year Supervised
                 Release. $500 SMA $1,250,000 Fine. Restitution in the amount of $20,000 jointly and
                 severally with co−defendants. Signed by JUDGE ROBERT L HINKLE on
                 11/11/2021. (kjw) (Entered: 11/12/2021)
11/11/2021   515 STATEMENT OF REASONS (Sealed) as to JOHN THOMAS BURNETTE. Copies
                 to be distributed to attorney for defendant, USAO, and USPO only. Signed by JUDGE
                 ROBERT L HINKLE on 11/11/2021. (kjw) (Entered: 11/12/2021)
11/12/2021   516 NOTICE OF APPEAL by JOHN THOMAS BURNETTE re 514 Judgment, Filing fee
                 $ 505, receipt number AFLNDC−6542705. Transcript Order Form due by 11/26/2021.
                 (KEHOE, GREGORY) (Entered: 11/12/2021)
11/12/2021   517 MOTION For Continued Release Pending Appeal by JOHN THOMAS BURNETTE.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T) (SAHARIA,
                 AMY) (Entered: 11/12/2021)
